EXHIBIT 1
Russian Hacker Arrested for Computer Hacking Scheme that Victimized Thousands of Cr... Page 1 of 3




     THE UNITED STKI'ES ATTORNEY'S OFFICE

     WESTERN DISTRICT/>WASHINGTON

     U.S. Attorneys » Western District of Washington » News

                                           Department of Justice

                                            U.S. Attorney's Office

                                       Western District of Washington


     FOR IMMEDIATE RELEASE                                                          Monday, July 7, 2014


       Russian Hacker Arrested for Computer Hacking Scheme
        that Victimized Thousands of Credit Card Customers
           Seattle Area Businesses Had Their Point Of Sale Computers Hacked,
                                   Information Stolen
     A Russian man, indicted in the Western District of Washington for hacking into point of sale
     systems at retailers throughout the United States was arrested this weekend and transported to
     Guam for an initial appearance, announced U.S. Attorney Jenny A. Durkan. ROMAN
     VALEREVICH SELEZNEV, 30, of Vladivostok, also known as "Track2" in the criminal carding
     underground, was indicted in March 2011, for operating several carding forums that engaged in
     the distribution of stolen credit card information. At his first appearance in Guam today,
     SELEZNEV was ordered detained pending a further hearing scheduled for July 22, 2014.

     "Cyber crooks should take heed: you cannot hide behind distant keyboards. We will bring you to
     face justice," said U.S. Attorney Jenny A. Durkan, who leads the Justice Department's
     Cybercrime and Intellectual Property Enforcement Subcommittee of the Attorney General's
     Advisory Committee. "I want to thank the U.S. Secret Service for their work in investigating this
     case and in apprehending the defendant. I also want to give credit to the work of the Electronic
     Crimes Task Force, and Seattle Police Department in particular, and our partners in the United
     States Attorney's Office in Guam, the Department of Justice's Office of International Affairs, and
     the Computer Crime and Intellectual Property section of the Department of Justice's Criminal
     Division."

     The indictment, unsealed today following his arrest on July 5, 2014, details a bank fraud scheme
     in which SELEZNEV is charged with hacking into retail point of sale systems and installing
     malicious software on the systems to steal credit card numbers. The illegal hacking outlined in
     the indictment occurred between October 2009, and February 2011. The indictment alleges that
     SELEZNEV created and operated infrastructure to facilitate the theft and sales of credit card data
     and used servers located all over the world to facilitate the operation. This infrastructure included




http://www.justice.gov/usao-wdwa/pr/russian-hacker-arrested-computer-hacking-scheme-vi... 41312015
Russian Hacker Arrested for Computer Hacking Scheme that Victimized Thousands of Cr... Page 2 of 3


     servers that hosted carding forum websites where cybercriminals gathered to sell stolen credit
     card numbers. The charges in the indictment include five counts of bank fraud, eight counts of
     intentionally causing damage to a protected computer, eight counts of obtaining information from
     a protected computer, one count of possession of fifteen or more unauthorized access devices
     (stolen credit card numbers), two counts of trafficking in unauthorized access devices and five
     counts of aggravated identity theft.

     "The arrest of Roman Seleznev is yet another example of how the Secret Service continues to
     successfully combat data theft and financial crimes," said Robert Kierstead, Special Agent in
     Charge of the U.S. Secret Service Seattle Field Office. "The Secret Service utilized state-of-the-
     art investigative techniques to dismantle this criminal network. Our success in this case and
     other similar investigations is a result of the extraordinary work of our investigators and our close
     work with our network of law enforcement partners."

     Bank Fraud is punishable by up to thirty years in prison and a $2 million fine. Intentionally
     causing damage to a protected computer resulting with a loss of more than $5,000 is punishable
     by up to ten years in prison and a $250,000 fine. Obtaining information from a protected
     computer is punishable by up to five years in prison and a $250,000 fine. Possession of more
     than 15 unauthorized access devices is punishable by up to ten years in prison and a $250,000
     fine. Trafficking in unauthorized access devices is punishable by up to 10 years in prison and a
     $250,000 fine. Aggravated identity theft is punishable by an additional two years in prison on top
     of any sentence for the underlying crimes. In determining the actual sentence, the Court will
     consider the United States Sentencing Guidelines, which are not binding but provide appropriate
     sentencing ranges for most offenders.

     SELEZNEV is also charged in a separate indictment in the District of Nevada with participating in
     a racketeer influenced corrupt organization (RICO) and conspiracy to engage in a racketeer
     influenced corrupt organization as well as two counts of possession of fifteen or more counterfeit
     and unauthorized access devices. Those charges carry maximum penalties of up to 20 years in
     prison for RICO and RICO conspiracy and up to 10 years in prison for possession of fifteen or
     more counterfeit and unauthorized access devices.

     Credit card fraud costs financial institutions $40 billion annually. In the Western District of
     Washington more than 180,000 stolen credit card numbers have been identified in recent cyber
     cases.

     The charges contained in the indictment are only allegations. A person is presumed innocent
     unless and until he or she is proven guilty beyond a reasonable doubt in a court of law.

     The case is being investigated by the U.S. Secret Service Electronic Crimes Task Force which
     includes detectives from the Seattle Police Department. The Office of International Affairs, the
     Computer Crime and Intellectual Property Section of the Department of Justice's Criminal
     Division and the U.S. Attorney's Office for the District of Guam provided substantial assistance.
     Assistant United States Attorney Norman M. Barbosa is prosecuting the case in the Western
     District of Washington.

     For additional information please contact Todd Greenberg, Assistant United States Attorney for
     the United States Attorney's Office, at (206) 553-7970.




http://www.justice.gov/usao-wdwa/pr/russian-hacker-arrested-computer-hacking-scheme-vi...              41312015
Russian Hacker Arrested for Computer Hacking Scheme that Victimized Thousands of Cr... Page 3 of 3



                                                           USAO - Washington. Western District
                                                                           Updated March 20, 2015




http://www.justice.gov/usao-wdwa/pr/russian-hacker-arrested-computer-hacking-scheme-vi... 41312015
EXHIBIT4
CIVIl..LE & TANG, PLLC
SUITE 200, 330 HERNAN CORTEZ AVENUE
HAGATNA. GUAM 96910
TELEPHONE: (671)472-8868
FACSIMILE: ,(671) 477-2511

Attorneys for the Person Being Detained As
Defendant Roman Seleznev


                      IN THE UNITED STATES DISTRICT COURT
                          FORTHETERRITORYOFGUAM


UNITED STATES OF AMERICA,                          MAGISTRATE CASE NO. 14-00056

                         Plaintiff,

                vs.
                                                   DECLARATION OF
ROMAN SELEZNEV,                                    ROMAN SELEZNEV
 akaTRACK2,
 aka ROMAN IVANOV,
 aka RUBEN SAMVELICH,
 akanCuX,
 aka Bulba,
 aka bandysli64,
 akasmaus,
 aka Zagreb,
 akashmak,

                         Defendant


        1.      My name is Roman Seleznev, and I am being detained as and accused of
being the Defendant named Roman Seleznev in the indictment in Case No. CR11-070RAJ
from the United States District Court of the Western District of Washington.
        2.      I am over the age of 21, and competent to make this declaration.
        3.      I am a citizen and a resident of the Russian Federation.
        4.      On or about July 5, 2014, I was in the Republic of the Maldives on the last
day of a family vacation.
        5.      I was traveling with my family consisting of my girlfriend Anna Orisko, and
her fom year old daughter.



                                      ORIGINAL
         Case 1:14-mj-00056 Document 13-1 Filed 07/21/14 Page 1of4
··1_




               6.     On the morning of July 5, 2014, I proceeded with my family to the Male
       International airport for our 11:55 a.m. scheduled flight back to the Russian Federation.
              7.      When I arrived at the airport, I was directed to a side inspection area with my
       faniily. We were led into a small room, and I was separated from Anna and the child who
       were directed into an adjacent room with a partial glass door.
              8.      As soon as I was separated from my family, three Americans I had not seen
       before rushed in behind me and I was thrown by the Americans to the couch that was in the
       small room.
              9.      One of the three Americans screamed loudly that he was with the United
       States Secret Service and that I was under attest. When I asked why I was under arrest, a
       paper was aggressively dangled in front of my face. None of these three individuals was a
       Maldives law enforcement agent as far as I could determine.
              1O.     I demanded that I be allowed to contact legal counsel, and asked those
       arresting me to contact my Embassy and representatives from the Russian Federation.
               11.    I was eventually allowed to review the document that had been thrust in my
       face. The document appeared to be an American court document describing certain crimes.
       As I was reviewing the paper, the paper was taken away and I noticed that the American
       agents were searching my family's luggage.
              12.     I was ordered to empty my pockets and my belongings were seized from me
       by the American agents. One of the American agents ordered me to give him my hands. I
       was told that I had no choice in the matter, and I was then handcuffed.
              13.     As I was being handcuffed, I again asked for legal counsel and consular
       assistance, but none was provided.
              14.     My faniily could witness my arrest through the partial glass door, but the
       American agents would not allow me to communicate with them. At one point, the door to
       the room in which I was being held was opened and I informed my family that they were
       keeping me here. The American agents immediately began to yell and told me that I was not
       allowed to talk to anyone and then immediately closed the door.
              15.     While the American agents were searcrung our luggage they told me to go
       over and unlock it I walked over and from a distance looked at the luggage and told
       them it was unlocked. I then sat down without touching the luggage. The agents never
       asked for permission to search our luggage and neither my girlfriend nor I gave them
       permission to search our luggage.
                                                     2
               Case 1:14-mj-00056 Document 13-1 Filed 07/21114 Page 2 of 4
        16.    The American agents then led me on through the Male Intemational airport.
It was clear to me that the arresting agents were trying to disguise my arrest from others in
the airport by forcing me to have a t-slllrt draped over the handcuffs.
        17.    The American agents also took the laptop from our baggage, and a mobile
phone. I was never shown a warrant or any other similar document allowing such a seizure.
        18.    We made a stop in another small room as we took out route through the
ai:tport, and then I was led by the American agents to an unmarked jet and forced to board
it. I again asked about legal counsel and contacting my country, and was not allowed to do
so.
        19.    I only have a limited grasp of English. About three hours into the flight the
American agents for the first time showed me Miranda warcings that were written in Russian
and English.
        20.    Although I asked where I was being taken to, I was provided with no answer.
After a long flight, we eventually landed in Guam and I was immediately placed in jail.
        21.    I have worked with a Russian language tcanslator in preparing this
declaration.
        I declare under penalty of perjury that the foregoing is true and correct and that I

execute this Declaration in Hagatiia, Guam this 20th day ofJuly, 2014.




                                               3

        Case 1:14-mj-00056 Document 13-1 Filed 07/21114 Page 3 of 4
                                                                                               CERTIFIED TRANSLATION

               I do hereby declare under penalty of perjury that I am fluent in the Russian and English
        languages and that I met with Roman Selemev at the Depar1ment of Corrections, Mangilao,
        Guam and translated to him, to the best of my ability, the attached document entitled
        "Declaration ofRoman Seleznev" from English to Russian.


                                          Dated: July 20, 2014



                                                                                                            PAULINA COLLINS
                                                                                                            Translator




        GUAM, U.S.A.                                                                       )
                                                                                           ) ss:
        CITY OF HAGATNA                                                                    )

               On this                                                  J'f;;
                                 of July, 2014, before me, the undersigned notary, personally appeared
        PAULINA COLLINS, the person whose name is signed on the preceding or attached document,
        an4.
           ~J;c;upty,l,edged to me that She signed it voluntarily for its stated purpose .
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                                                           Case 1:14-mj-00056 Document 13-1 Filed 07/21114 Page 4 of 4
EXHIBIT 5
CT 771.110 (409-771-23434-S) Broadway Grill - Request for IOD (Continued)                       Page I of 3

                                                                                           Q.t:   rYb(:   Ut1   .LL
CT 771.110 (409-771-23434-5) Broadway Grill - Request for 100                                                   ~
(Continued)
SEA
Sent: Wednesday, March 13, 2013 1:15 PM
To: CID; cis; PAR
Cc: SEA; ISO; PHX; ATl; MIA


                     U. S. SECRET SERVICE INVESTIGATIVE REPORT

FROM:         SEATTLE FIELD OFFICE               FILE:           409-771-23434-S
TO            CRIMINAL INVESTIGATIVE DIVISION   X-REF:           178-771-43719-S
              CYBER INTELLIGENCE SECTION                         410-775-09446-S
              PARIS FIELD OFFICE                                 417-769-08288-S
INFO:         PHOENIX FIELD OFFICE                               202-768-22869-S
              ATLANTA FIELD OFFICE                               203-771-42801-S
              MIAMI FIELD OFFICE                                 404-771-20456-S
                                            SEIZURE #:           N/A

SUBJECT:      REPORT OF CONTINUING INVESTIGATION / REQUEST FOR INVESTIGATION OTHER
DISTRICT

              ACTUAL LOSS: $6,300,000           POTENTIAL LOSS: $100,000,000

CASE TITLE                     BROADWAY GRILL
CASE TYPE                      771.110 - FRAUDULENT USE OF ACCOUNT NUMBERS - BANK CARDS
SECONDARY TYPES                775.610, 774.060, 775.120, 775.220, 775.230,
                               775.520, 725.110, 767.100, 767.120,
                               768.100, 769.110, 848.290, 848.920
                               848.930, 848.940, 848.950, 848.191
CONTROLLING OFFICE:            SEATTLE FIELD OFFICE
REPORT MADE BY                 SA Kirk Arthur, (206) 553-1922
DATE CASE OPENED               11/01/10
PREVIOUS REPORT                REQUEST FOR IOD / REPORT OF CONTINUING INVESTIGATION DATED
11/19/12
REPORTING PERIOD               11/20/12 - 03/10/13
STATUS                         CONTINUED

SYNOPSIS:

The Seattle ECTF is investigating a case involving over four-hundred (400)
individual network intrusions linked to Roman V. Seleznev, two-hundred and fifty-
three (253) of which involved the theft of financial information.  Seleznev has
stolen financial information from at least eight (8) businesses located in the
Western District of Washington.  Seleznev has been indicted by the United States
Grand Jury, Western District of Washington, for numerous violations stemming from
this investigation.

Efforts are currently underway to locate and apprehend Seleznev should he travel to
a country in which there exists a Mutual Legal Assistance Treaty (MLAT) with the
United States of America.

The Paris Field Office is requested to continue working with Ukranian law
enforcement regarding the www.bulba.cc server.

On 2/14/13,     this case was reassigned to SA Kirk Arthur.

Case continued.

DETAILS OF INVESTIGATION:



https ://owa20 l 0 .ssnet. usss.dhs.gov/owa/phx@officialmail.usss.dhs.gov/?ae= Jtem&t=IPM....   311312013

                                                                                         USSS PHOENIX_0000029
CT 771.110 (409-771-23434-S) Broadway Grill - Request for IOD (Continued)                   Page 2of3



Reference is made to all previous reports for this investigation, the most recent
being the Report of Continuing Investigation/Report of Investigation Other District,
dated 11/19/12 by TFO David Dunn, SEA/ECTF.

Reference is made to the Investigative Report from SA Joey Ward, Atlanta Field
Office, dated 01/28/13, closing SEA's IOD request.

Reference is made to the Investigative Report from SA Daniel MacDougal,                Phoenix
Field Office, dated 01/28/13, regarding SEA's IOD request.

Reference is made to the Investigative Reports from SA Jerry Heyn, Paris Field
Office, regarding the status of SEA's IOD request, the most recent dated 02/15/13.

TFO David Dunn is no longer assigned as the case agent for this investigation.                   On
2/14/13, this case was reassigned to SA Arthur.

Efforts continue to locate Roman Seleznev and apprehend him should he travel to a
country in which there exists a Mutual Legal Assistance Treaty (MLAT) with the
United States of America.

No other investigation occurred during this time period.

JUDICIAL ACTION:

No judicial action occurred during this reporting period.

SUSPECTS/DEFENDANTS:

Seleznev, Roman - Suspect
         1599 : Yes
         1599A:  No

Unknown Subject - Suspect
        1599 :  Yes
        1599A:  No

EXAMS CONDUCTED:

          ESCAP:             N/A
          Polygraph:         N/A
          FSD:               N/A

DATABASE SEARCHES:

         MCI I CI:           01/25/11
         NCIC/NLETS:         N/A
         ISO SEARCHES:       N/A

EVIDENCE/CONTRABAND/PERSONAL PROPERTY:

All evidence remains as previously reported.

DISPOSITION:

The Paris Field Office is requested to continue working with Ukranian law
enforcement regarding the www.bulba.cc server.

Case continued pending further investigation and judicial action.




https://owa20 IO.ssnet.usss.dhs.gov/owa/phx@officialmail.usss.dhs.gov/?ae=Item&t=IPM.. ..   311312013

                                                                                     USSS PHOENIX_0000030
 CT 771.110 (409-771-23434-S) Broadway Grill - Request for IOD (Continued)                    Page 3of3



 USSS/SEATTLE                             ARTHUR/PAGE/HELMINSKI




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                                                                                         USSS PHOENIX_0000031
EXHIBIT 7
No. 051



      The Embassy of the United States of America presents its compliments to the
Ministry of Foreign Affairs of the Republic of Maldives and has the honor to request the
removal of Russian citizen ROMAN V ALEREVICH SELEZNEV, alias "Roman
Ivanov," alias "Ruben Samvelich," alias "Track2," alias "nCuX," alias "Bulba," alias
"bandysli64," alias "smaus," alias "zagreb," alias "shmak," to the United States by way
of deportation, expulsion, or other means available under the laws of the Maldives.


          In addition to the above assistance, the United States requests the seizure of all
articles in the possession of the fugitive that may serve as evidence of the offenses, for
surrender with the fugitive if he is transferred to U.S. custody.


    ROMAN V ALEREVICH SELEZNEV ("SELEZNEV"), is believed to be planning to
depart the Maldives on the morning of July 5, 2014. Therefore, the Embassy considers
this request to be urgent.


    SELEZNEV is wanted to stand trial in the United States District Court for the
Western District of Washington for bank fraud, damage to computers, illegally obtaining
information from computers, illegal possession of credit card information, trafficking in
credit cards, and identity theft. On March 16, 2011, Superseding Indictment Number
CR 11-070RAJ was filed in the U.S. District Court for the Western District of
Washington, charging SELEZNEV with the following offenses:


          Five counts (Counts 1 - 5) of bank fraud. in violation of Title 18, United States
          Code (U.S.C.), §§ 1344 and 2. with a maximum penalty of thirty years'
          imprisonment for each count;


                                      DIPLOMATIC NOTE
   -   Eight counts (Counts 6 - 13) of intentional damage to a protected computer, in
       violation of 18 U.S.C. §§ 1030(a)(5)(A), 1030(c)(4)(B)(I}, and 2, with a
       maximum penalty of ten years' imprisonment for each count;


        Eight counts (Counts 14 - 21) of obtaining information from a protected
       computer, in violation of 18 U.S.C. §§ 1030(a)(2), 1030(c)(2)(B)(ii), and 2, with a
       maximum penalty of five years' imprisonment for each count;


       One count (Count 22) of possession of fifteen or more unauthorized access
       devices (credit cards), in violation of 18 U.S.C. §§ 1029(a)(3), 1029(c)(l)(A)(i),
       and 2, with a maximum penalty of ten years' imprisonment;


       Two counts (Counts 23 and 24) of trafficking in unauthorized access devices, in
       violation of 18 U.S.C. §§ 1029(a)(2), 1029(c)(l)(A)(i), and 2, with a maximum
       penalty of ten years' imprisonment for each count; and,


        Five Counts (Counts 25-29) of aggravated identity theft, in violation of 18
       U.S.C. §§ 1028A(a)(l) and 2, with a maximum penalty of two years'
       imprisonment for each count.


The applicable statute of limitation does not bar prosecution for the offenses charged.


       On March 16, 2011, a warrant for the arrest of SELEZNEV was issued by the
United States District Court for the Western District of Washington based on the charges
in the superseding indictment. This arrest warrant remains valid and executable to
apprehend SELEZNEV for the charges filed in the superseding indictment. The
indictment and the arrest warrant are attached.
       The court has authorized the Indictment and warrant of arrest to be unsealed for
the limited purpose of allowing the United States to provide copies of these documents to
any foreign officials necessary to effectuate the arrest and transfer of SELEZNEV to the
United States, but they will remain sealed until the apprehension of SELEZNEV.


The facts of the case are as follows:


       The U.S. Secret Service (USSS) has been investigating the internet nickname of
"Track2" since May 2010. During the investigation, it was determined that the nickname
belongs to SELEZNEY and that he is responsible for network intrusions or computer
hacks at over 100 businesses. It has also been determined that he is responsible for the
sale of hundreds of thousands of stolen credit card numbers.


       The first network intrusion investigated by the USSS was at Schlotszki's Deli in
Coeur D'Alene, Idaho. On May 17, 2010, computers belonging to the business were
imaged and it was determined that malicious computer software had been installed on the
computers of the business since early April 2010 and that stolen credit card numbers were
being transmitted to a server in Russia. During the investigation, it was also determined
that the server where the data was being sent was the same server that was hosting or
storing all of the variations of the malicious software.


        In June 2010, a suspect was arrested in Ohio who was in possession of credit card
numbers stolen from the Coeur D'Alene, Idaho, network intrusion. A forensic
examination of the suspect's computer revealed that he had communicated on line with
SELEZNEV via a chat program and had purchased the credit card numbers from a
website belonging to SELEZNEV.


        Between April 2010 and March 2011, SELEZNEV hacked multiple businesses in
at least five different states including Washington, Maryland, Arizona, Illinois, and New
York. Numerous court orders and warrants have been served as part of this case. These
court orders have included search warrants for email accounts, computer servers, and
business records from various providers. The cumulative information from these records
and searches have positively identified SELEZNEV as the computer hacker behind the
aforementioned network intrusions, as well as being the person responsible for the
marketing and sale of hundreds of thousands of stolen credit card numbers stolen from
the victim businesses.


       The most recent fraud loss numbers obtained in this case show that there has been
a confirmed actual loss of over US$ 1.9 million. This number is expected to rise
significantly as the investigation continues.


       SELEZNEV is a citizen of the Russian Federation born on July 23, 1984, in the
Russian Federation. He is described as a Caucasian male, approximately 5 feet 10 inches
tall, weighing approximately 190 pounds, with brown hair and brown colored eyes. He
has a mole below his left eye. Photographs of SELEZNEV are included with this
request. SELEZNEV's Russian Federation passport number is 640410831 issued on or
about December 31, 2009. In 2007 and 2008, SELEZNEV traveled on a Russian
Federation passport with a number of 623910597.


       The United States will attempt to provide any further documentation required by
authorities in the Maldives in a timely manner, including translations of documentation
provided with this diplomatic note, if needed. If Maldivian authorities are willing to assist
the United States Government in this matter, the United States Government has agents
that are able to escort SELEZNEV to the United States.


        While the United States would appreciate the assistance of the Maldives in
returning SELEZNEV to the United States, because of limitations imposed by U.S. law,
we would not be in a position to guarantee reciprocity in the event of the Maldives'
interest in our similarly deporting or expelling someone to the Maldives.
      The Embassy of the United States of America avails itself of this opportunity to
renew to the Ministry of Foreign Affairs of the Republic of Maldives the assurances
of its highest consideration.




Embassy of the United States of America,
     Colombo, July 03, 2014.
EXHIBIT 9
MICHAEL FISCHLIN (SEA)

From:                         HNL
Sent:                         Tuesday, July 08, 2014 6:34 PM
To:                           CID; SEA
Cc:                           GUA; cis; ISD; HKG; SYD; BAN; LAS; SPO; HNL
Subject:                      CT 771.110 Notification of Federal Arrest - Robert Seleznev (Guam)



                        U.S. Secret Service Investigative Report

FROM:        GUAM RESIDENT OFFICE                               FILE:   J-409-771-23434-S
TO           CRIMINAL INVESTIGATIVE DIVISION                   X-REF:   178-771-43719-S
             SEATTLE FIELD OFFICE                                       410-775-09446-S
                                                                        417-769-08288-S
                                                                        202-768-22869-S
                                                                        203-771-12801-S
                                                                        404-771-20456-S
                                                       SEIZURE #:       N/A

INFO:        CYBER INTELLIGENCE SECTION
             INVESTIGATIVE SUPPORT DIVISION
             HONOLULU FIELD OFFICE
             HONG KONG RESIDENT OFFICE
             SYDNEY RESIDENT OFFICE
             BANGKOK RESIDENT OFFICE
             LAS VEGAS FIELD OFFICE
             SPOKANE RESIDENT OFFICE

SUBJ:        NOTIFICATION OF FEDERAL ARREST
                   ROMAN SELE ZN EV ·- DATE OF ARREST 07 /0 6/14

             ACTUAL LOSS: $6,300,000           POTENTIAL LOSS: $100,000,000

CASE TITLE                BROADWAY GRILL
CASE TYPE                 771.110 - FRAUDULENT USE OF ACCOUNT NUMBERS -
                                     BANK CARDS
SECONDARY TYPES           775.610, 774.060, 775.120, 775.220, '175.230,
                          775.520, 725.110, 767.100, 767.120,
                          768.100, 769.110, 848.290, 848.920
                          848.930, 848.940, 848.950, 848.191
CONTROLLING OFFICE:       SEATTLE FIELD OFFICE
REPORT MADE BY            SA DANIEL SCHWANDNER (BAN) +66 81 810-9333
DATE CASE OPENED          l l /01/10
PREVIOUS REPORT           REPORT Of INVESTIGATION BY SA MICHAEL FISCHLIN
                          DATED S/23/14
REPORTING PERIOD          7/6/14 - 7/7/14
STATUS                    CONTINUED


SYNOPSIS:

At approximately 0252 HRS On 7/6/14, Russian National Roman Seleznev was arrested at the
Guam International Airport by SA Dan Schwandner (BAN), and other Honolulu Field Office
agents after arriving in Guam aboard a private charter flight from Male, Maldives.

The arrest was executed based on arrest warrant CRll-70 RAJ issued on 03/16/11, by the
U.S. District Court, Western District of Washington.




                                                                                                   usss   0000243
There is an additional arrest warrant for this Defendant number 2:12-cr-004 issued on
01/10/12 by the U.S. District Court, District of Nevada.

On 7/8/14, I received an e-mail from SA John Szydlik, USSS Cyber Intelligence Section
informing me that notification of Seleznev's arrest was sent via fax at 1627 HRS EST on
7/5/14 (0627 HRS on 7/6/14 Guam time) to the Russian Embassy in Washington, DC.

Details of Investigation:

Reference is made to the previous report in this case, dated 05/23/14, wherein SA Michael
Fischlin, Seattle Field Office reported that this case was continued pending judicial
action.

On 7/3/14, I received a call from ATSAIC John Marengo, USSS Cyber Intelligence Section
providing me with information that Russian National Roman Seleznev, a U.S. Secret Service
high value target was possibly vacationing in the Maldives.

Coordination had been on-going for several days between the U.S. Secret Service, the U.S.
State Department to include the U.S. Embassy in Colombo, Sri Lanka and Maldivian
authorities in order to confirm that Seleznev was in the Maldives and to determine the
willingness of the Maldivian authorities to turn Seleznev over to United States law
enforcement officials based on a red notice request from Interpol (Control No A-5063/7-
2014) relating to the above mentioned arresc warrants.

On 7/3/14,   I departed Bangkok at 0941 HRS and arrived in Male, Maldives at 1140 HRS.

On 7/4/14, I met with ARSOI Mark Smith, Diplomatic Security Service from the U.S. Embassy
in Colombo, Sr1 Lanka regarding this matter. ARSOI Smith told me that based on his
previous cormnunications with Maldivian La\.v Enforcement authorities, there was a high
probability they were willing to expel Seleznev from the Maldives and turn him over to
U.S. law enforcement authorities on the aforementioned Interpol red notice.

Continuing on 7/4/14, SAIC Dave Tacovetti (HNL) arrived in Male, Maldives at
approximately 1140 HRS. At 1430 HRS, SAIC Iacovetli, ARSOI Smith, and I met with
Maldivian Police regarding this matter. At this meeting, it was confirmed by Maldivian
Immigration records that Seleznev arrived in the Maldives on 6/21/14, and is believed to
be staying at the Atmosphere Hotel, located on Kanifushi Island, about a 30 minute sea
plane trip from the Male International Airport. It is also believed that he was scheduled
to depart the Maldives on Saturday 7/5/14, at 1155 HRS via Transaero Flight UN510.

On the evening of 7/4/14, Maldivian authorities confirmed that Seleznev was scheduled to
depart the Atmosphere resort via sea plane at approximately 0900 HRS on 7/5/14, en route
to the Male International Airport.

At approximately 0830 on 7/5/14, it was confirmed by our Maldivian police counterparts
that Seleznev would be expelled from the Maldives based on the aforementioned Interpol
red notice and turned over to the custody of myself, SAIC Iacovetti and ARSOl Smith. We
were further told this decision was made at the highest level of the Maldivian Government
and received the approval of the President of the Mal.dives.

Continuing on 7/5/14, at approximately 1002 HRS, the Sea Plane carrying Seleznev, his
girlfriend Ganna Otisko and her daughter Anastasia Otisko arrived at Male International
airport. All three passengers boarded a shuttle bus en route to the Male International
Airport terminal.

At approximately 1028 HRS, all three passengers approached the departure entrance to the
Male International airport terminal, where they were approached and detained by Maldivian
Tourist Police Officers, and asked to accompany police to the tourist police office
inside the airport terminal.



                                              2




                                                                                     usss   0000244
At the police office, Maldivian Tourist Police directed Otisko and her daughter into a
back office and asked Seleznev to sit down in the front office. Maldivian Police
officials informed Seleznev that based 011 the issuance of the previously mentioned red
notice from Interpol; he was being expelled from the Maldives and turned over to the
custody of U.S. law enforcement officials. At this time, ARSOI Smith and I introduced
ourselves and presented a copy of the indictment and the aforementioned arrest warrant
from the U.S. District Court, Western District of Washington to Seleznev and informed him
that he was going to be transported from Male to the United States to answer to the
charges listed in the warrant.

Maldivian Tourist Police, assisted by myself and ARSOI Smith, searched through the bags
that Seleznev and his party had brought to the airport with them. During this search,
evidence to include electronic equipment, genuine U.S. currency, genuine Russian Rubles,
miscellaneous travel documents, credit cards, and Seleznev's passports were seized by me,
and later inventoried on the SSF 1544 forms listed below. All other items were left in
the care of the Maldivian Tourist Police for release to Otisko.

At approximately 1051 HRS, SAIC Iacovetti, ARSOI Smith, Seleznev and I departed the
Tourist Police office via foot escorted by Maldivian authorities to the VIP departure
terminal. Upon arrival, we presented our documents to the Maldivian authorities to clear
immigration. After clearing immigration, we were taken by vehicle and escorted by
Maldivian author.i.ties to our awaiting charter flight, and boarded the plane at 1105 HRS.

At approximately 1120 HRS on 7/5/14, SAIC Iacovetti, ARSOI Smith, myself and Seleznev
departed Male, Maldives via charter aircraft en route to Guam.

JUDICIAL ACTION:

At 1400 HRS On 07/07/14, an initial appearance/identity hearing was held for Seleznev in
Guam. During this time, the defendant refused to acknowledge the public defender, forcing
the postponement of this hearing until 7/22/14, to allow the defendant to secure his own
legal counsel.

Continuing on this date, I received an e-mail from SAIC Iacovetti, indicating
correspondence with the U.S. Attorney's Office in Seattle that the New York law firm of
Fox Rothschild LLP had been retained to represent Seleznev.

The U.S. Attorney's office in Guam has released the evidence seized from Seleznev at the
time of his arrest to the Western District of Washington. This evidence will be delivered
in person to the Seattle Field Office by SAIC Iacovetti.

SUSPECTS/DEFENDANTS:

SELEZNEV, ROMAN - DEFENDENT -- ARRESTED ( FEDF::RAL)
   1599:     YES (completed previously in SEA)
   1599A:    YES

EXAMS CONDUCTED:

None

DATABASE SEARCHES CONDUCTED:

NONE

EVIDENCE/CONTRABAND/PERSONAL PROPERTY:

Items seized from Seleznev and inventoried on SSF 1544 serial numbers 0001 DAI, 0002 DAI,
0003 DAI, 0004 DAI, 0005 DAI and 0006 DAI are being transported from Guam to the Seattle
Field Office by SAIC Iacovetti.

All previously inventoried evidence is being held in the Seattle Field Office vault.

                                                3




                                                                                    usss     0000245
DISPOSITION;

Case continued in Guam pending results oE federal judicial action.


HONOLULU FO                                     SCHWANDNER/JONES/IACOVETTI/cc




                                            4




                                                                                usss   0000246
EXHIBIT 10
Hussain Usham I Linkedln                                                                                                                    https://www.linkedin.com/pub/hussain-usham/42/796/631



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1 ofl                                                                                                                                                                                                                 3/27/2015 11:53 AM
EXHIBIT 11
                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE TERRITORY OF GUAM


UNITED STATES OF AMERICA,                            MAGISTRATE CASE NO. 14-00056

                       Plaintiff,

               vs.

ROMAN SELEZNEV,                                      DECLARATION OF
  aka TRACK2,                                        SHARAFULLA SHIHAB
  aka ROMAN IVANOV,
  aka RUBEN SAMVELICH,
  akanCuX,
  aka Bulba,
  aka bandysli64,
  aka smaus,
  aka Zagreb,
  aka shmak,

                       Defendant.



       I, Sharafulla Shihab, being of full age and sound mind do hereby swear and affirm:

       1.      I am a citizen of the Republic of Maldives.

       2.      I work at a Hotel in the Maldives, and as part of my job, I meet guests upon their

arrival and prior to their departure at the Maldives Ibrahim Nasir International Airport.

       3.      On July 5, 2014, I witnessed two United States agents detain and handcuff a

person later identified by me from news reports as Roman Seleznev.

       4.      Mr. Seleznez appeared to me to be travelling with two other individuals that I

observed - a female companion and a female minor child.

       5.      Both agents were white men, and one was wearing a green t-shirt and jeans.




             Case 1:14-mj-00056 Document 22 Filed 07/25/14 Page 1of2
        6.      I saw the agent who was wearmg a green t-shirt and jeans actually place

handcuffs on Mr. Seleznev while in the airport's departure hall.

        7.      After his arrest, I watched the agents escort Mr. Seleznev to the airport's private

"VIP" lounge.

        8.      The "VIP" lounge is for people traveling by private jet, and it was very unusual

for a person arrested at the airport to be taken into this lounge.

        9.      I saw some Maldives law enforcement officers standing behind Mr. Seleznev at

the time of his arrest; however, I did not see these officers speak with Mr. Seleznev or participate

in his arrest in any way.

        10.     As far as I can tell, the apprehension of Mr. Seleznev was carried out by the two

United States agents.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.




                                                Sign:

                                                        Sharafulla Shihab




Date: July      , , 2014




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              Case 1:14-mj-00056 Document 22 Filed 07/25/14 Page 2 of 2
EXHIBIT 13
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 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                                   FOR THE TERRITORY OF GUAM
 9

10   UNITED STATES OF AMERICA,

11                         Plaintiff,                    MAGISTRATE CASE NO. 14-00056
                   vs.
12                                                           DECISION AND ORDER
     ROMAN SELEZNEV,                                     RE: MOTION TO DISCHARGE AND
13      aka TRACK2,                                      RELEASE DEFENDANT PURSUANT TO
        aka ROMAN IVANOV,                                FED. R. CRIM. P. 12(b)(3)(A)
14      aka RUBEN SAMVELICH,
        aka nCuX,
15      aka Bulba,
        aka brandysli64,
16      aka smaus,
        aka Zagreb,
17      aka shmak,

18                         Defendant.

19
            The Motion to Discharge and Release Defendant Pursuant to FED. R. CRIM. P.
20
     12(b)(3)(A) came before the court on July 31, 2014. Having considered the parties' arguments
21
     and submissions, as well as relevant caselaw and authority, the court orally DENIED said
22
     motion. The comt now issues its written decision.
23

24




                 Case 1:14-mj-00056 Document 44 Filed 08/07/14 Page 1of7
 1       I. FACTUAL AND PROCEDURAL BACKGROUND

 2            On July 7, 2014, the United States filed a Petition for Writ of Removal as to Roman

 3   Seleznev. 1 See ECF No. 1. On that same day, Roman Seleznev (hereinafter "Seleznev'') made his

 4   initial appearance before Magistrate Judge Joaquin V.E. Manibusan, Jr. However, the initial

 5   appearance (hereinafter referred to as "Rule 5 hearing") was continued to July 22, 2014, because

 6   Seleznev wanted to retain his own counsel. On July 18, 2014, Seleznev' s counsel filed a motion

 7   to continue and requested a briefing schedule on a Rule 12 motion that he anticipated to file. See

 8   ECF No. 10. Consequently, the court vacated the Rule 5 hearing, set a briefing schedule, and

 9   subsequently set a hearing date on the motion for discharge and release, as well as the Rule 5

                                                           2
10   hearing (in the event the motion was denied).

11            On July 21, 2014, Seleznev filed his Rule 12 motion, seeking the court to ( 1) decline

12   jurisdiction and terminate the prosecution, (2) discharge the case, (3) release him, and (4) issue

13   such other and further relief as may be appropriate. See ECF No. 13, at 17. Seleznev alleges the

14   following with respect to the manner in which he was arrested:

15                 • On or about July 5, 2014, U.S. Secret Service agents:
                         • detained Seleznev at the Ibrahim Nasir International Airport (more
16                           commonly known as the Male International Airport) as he was preparing
                            to board a commercial airliner scheduled to depart at approximately 11 :55
17                          a.m. local time to Moscow;
                         • infonned him that he was under arrest;
18                       • separated him from his partner and her minor child;
                         • confiscated his mobile phone and laptop and prohibited him from having
19                           any communication with his family;
                         • prohibited him from making telephone calls;
20                       • placed him in a confined holding area;
                         • searched his person;
21                       • physically pushed him onto a couch and instructed him to remain seated;

22   1
      Filed with the Petition was a copy ofa Superseding Indictment pending in the Western District of Washington and
     an arrest warrant issued in that district.
23
     2
       Seleznev also filed a motion to continue the hearing on the motion for discharge and release, based on discovery
24   request (ECF No. 34). The court denied the motion and accepted all factual allegations in Seleznev's favor as true
     for the purposes of hearing the motion for discharge and release.


                                                               2

                    Case 1:14-mj-00056 Document 44 Filed 08/07/14 Page 2 of 7
 1                           • presented him with a copy of the indictment originating from the U.S.
                                 District Court for the Western District Washington;
 2                           • informed him that he was under arrest; and
                             • handcuffed him.
 3                  •   Thereafter, Seleznev was led from the holding facility in the airport onto a private
                        jet that was flown to Guam.
 4                  •   Upon arrival on Guam, Seleznev was transferred into the custody of the U.S.
                        Marshals Service, and he was permitted to make one telephone call.
 5                  •   Seleznev contends that he was never taken into custody by law enforcement
                         officials of the Republic of the Maldives.
 6                  •   Seleznev further contends that the United States purposefully circumvented the
                         laws of the Republic of the Maldives and the judicial process of that country.
 7
     See ECF No. 13, at 3-6. Based on these factual allegations, Seleznev makes the following legal
 8
     arguments, which will be discussed inji-a: (1) the court lacks jurisdiction because the manner in
 9
     which he was arrested constitutes shocking and outrageous government conduct amounting to a
10
     due process violation, such that this court is divested of personal jurisdiction over him; (2) the
11
     arrest violates customary international law and should shock the conscience of this court and
12
     cause it to divest itself of jurisdiction; and (3) the arrest violatesjus cogens norms of
13
     international law and thus, the court should exercise its supervisory power and dismiss the case.
14
     Id. at 7-16.
15
             As noted by the court during the motion hearing, the court herein incorporates all factual
16
     allegations made by Seleznev in his filing and during the July 31, 2014 hearing, and hereby
17
     accepts them as true for the purposes of addressing Seleznev' s motion for discharge and release.
18

19       II. ANALYSIS

20                  a. The court has personal jurisdiction over Seleznev.

21           Seleznev argues that this court does not have personal jurisdiction over him. Thus, in

22   order for this court to proceed with the Rule 5 hearing, the court must first determine personal

23   jurisdiction. Seleznev's argument on personal jurisdiction is two-fold: first, the arrest constitutes

24   shocking and outrageous government conduct that it amounts to a due process violation; and



                                                          3

                     Case 1:14-mj-00056 Document 44 Filed 08/07/14 Page 3 of 7
 1   second, the arrest violates customary international law and should shock the conscience of this

 2   court. See ECF No. 13, at 9-14.

 3           The Ninth Circuit has noted that the starting point in a personal jurisdictional challenge

 4   "is the venerable principle that 'the manner by which a defendant is brought to trial does not

 5   affect the government's ability to try him."' United States v. Struckman, 611 F.3d 560, 571 (9th

 6   Cir. 2010) (quoting United States v. Matta-Ballesteros, 71 F.3d 754, 762 (9th Cir. 1995)). This is

 7   known as the Ker/Frisbie doctrine. Recognized exceptions to the Ker/Frisbie doctrine are "if

 8   either: (1) the transfer of the defendant violated the applicable extradition treaty, or (2) the

 9   United States government engaged in misconduct of the most shocking and outrageous kind to

10   obtain his presence.'' United States v. Anderson, 472 F.3d 662, 666 (9th Cir. 2006) (citing Matta-

11   Ballesteros, 71 F.3d at 762-64) (internal quotation marks omitted).

12           There is no extradition treaty between the United States and the Republic of the

13   Maldives. Therefore, the court will only address the second exception: whether the government's

14   conduct was so shocking and outrageous that it would require this court to divest its personal

15   jurisdiction over Seleznev.

16           Having accepted all the factual allegations made by Seleznev in his filings and at the July

17   31, 2014 hearing as true, the court finds that these factual allegations are not shocking and

18   outrageous. Although the court does not condone the actions of the government as alleged by

19   Seleznev, Seleznev's factual allegations do not meet the extremely high standard required for

20   mandatory divestment ofpersonaljurisdiction. For example, in Matta-Ballesteros, the defendant

21   was forcibly abducted from his home in Honduras, wherein the U.S. Marshals ''bound his hands,

22   put a black hood over his head, [and] thrust him on the floor of a car[.]" Matta-Ballesteros, 71

23   F.3d at 761. The defendant in that case also alleged that he was beaten and tortured by a stun gun

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                                                        4

                  Case 1:14-mj-00056 Document 44 Filed 08/07/14 Page 4 of 7
 1   applied to different parts of his body, including his genitals. Id. The court held that the

 2   government's conduct was not so shocking and outrageous as to warrant dismissal. Id. at 763.

 3          As to Seleznev's argument that the arrest violates customary international law, there is no

 4   U.S. federal caselaw that specifically allows for mandatory divestment of personal jurisdiction

 5   for such.

 6
                 b. The court does not have the authority to entertain Seleznev's motion to
 7                  dismiss.

 8           Seleznev argues that the circumstances of his arrest violate jus cogens norms of

 9   international law and thus, the court should exercise its supervisory power and dismiss the case.

10   ECF No. 13, at 15-16.

11          In cases such as this, wherein the defendant was arrested in a district other than where the

12   offense was allegedly committed, Rule 5 of the Federal Rules of Criminal Procedure provides for

13   hmv the court should properly proceed. Pursuant to FED. R. CRJM. P. 5(c)(3)(D), this court "must

14   transfer the defendant to the district where the offense was allegedly committed if: (i) the

15   government produces the warrant, a certified copy of the warrant, or a reliable electronic form of

16   either; and (ii) the judge finds that the defendant is the same person named in the indictment,

17   information, or warrant[.]"

18          In this case, the United States has produced a certified copy of the arrest warrant for an

l9   individual named Roman Seleznev. At the Rule 5 hearing, the court found that the individual

20   arrested is the same person named in the Superseding Indictment.

21          Any other matter must be addressed by the district where the offense was allegedly

22   committed. In United States v. Green, 499 F.2d 538 (D.C. Cir. 1974), an indictment was pending

23   in the Southern District of Florida but the indictees were arrested in the District of Columbia.

24   The indictees then moved the District Court for the District of Columbia for dismissal of the



                                                       5
                  Case 1:14-mj-00056 Document 44 Filed 08/07/14 Page 5 of 7
 1   indictment pending in Florida, and the district court granted the dismissal of the case. Id. at 539.

 2   The appellate court overturned the district court's dismissal and held that ·'[t]he clear mandate of

 3   [former] Rule 40 3 sharply limits the function and authority of the magistrate, and by the same

 4   token the jurisdiction of the district court for the transferor district. Where the terms of [the

 5   removal rule] are met in a proceeding for removal in furtherance of a prosecution by indictment,

 6   that court lacks power to dismiss either the proceeding or the prosecution." Id. at 541. In

 7   reaching its conclusion, the appellate court stated:

 8           A contrary provision would threaten consequences seriously adverse to the
             orderly administration of criminal justice, not the least of which is potential
 9           frustration of the unequivocal objective of [the removal rule] to avoid delay in
             bringing arrestees to trial. The full panoply of defenses is, of course, available to
             the arrestee in the transferee court, and any inconvenience incidental to assertion
10           of defenses there is simply unavoidable.

11   Green, 499 F.2d at 541. Similarly, the Ninth Circuit in Vazquez v. United States District

12   Court for the District of Nevada, 572 F .2d 697 (9th Cir. 1978), refused to allow a

13   defendant resisting his removal under the former Rule 40 to file a motion to suppress. See

14   also Frost v. Yankwich, 254 F.2d 633, 637 (9th Cir. 1958) ("Petitioner's remedy, if any,

15   lies in the Illinois jurisdiction. lfhe has a defense, it is there that it must be presented.'').

16       III. CONCLUSION

17           The court finds that the factual allegations by Seleznev are not so shocking and

18   outrageous that it would require mandatory divestment of personal jurisdiction. In addition, the

19   court finds that it does not have the authority to entertain Seleznev's motion to dismiss the case,

20   as that authority lies within the indicting court. Accordingly, for the reasons set forth above, the

21   court hereby DENIES Seleznev's motion for release and discharge pursuant to FED. R. CRIM. P.

22   l 2(b )(3)(A). This court notes, however, that its decision on Seleznev' s motion shall not preclude

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     3
      Effective December I, 2002, the substance of fom1er Rule 40(a) was moved to Rules 5 and 5. l. See Advisory
24
     Committee Notes to 2002 Amendments to FED. R. CRIM. P. 40.



                                                            6

                   Case 1:14-mj-00056 Document 44 Filed 08/07/14 Page 6 of 7
 1   him from reasserting the same allegations at the U.S. District Court for the Western District of

 2   Washington for further consideration by that court, based on full discovery.

 3          SO ORDERED.

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                                                           Isl Frances M. Tydingco-Gatewood
 5                                                           Chief Judge
                                                           Dated: Aug 07, 2014
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                 Case 1:14-mj-00056 Document 44 Filed 08/07/14 Page 7 of 7
EXHIBIT 14
                                                                                                           Page 1




U.S. Attorneys' Manual 9-15.100, 1997 WL 1944598 (U.S.A.M.)

                           UNITED STATES DEPARTMENT OF JUSTICE
            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

                                                      2009

9-15.100 Definition and General Principles

International extradition is the formal process by which a person found in one country is surrendered to another
country for trial or punishment. The process is regulated by treaty and conducted between the Federal Govern-
ment of the United States and the government of a foreign country. It differs considerably from interstate rendi-
tion, commonly referred to as interstate extradition, mandated by the Constitution, Art. 4, Sec. 2.

Generally under United States law (18 U.S.C. § 3184), extradition may be granted only pursuant to a treaty.
However, some countries grant extradition without a treaty. However, every such country requires an offer of
reciprocity when extradition is accorded in the absence of a treaty. Further, the 1996 amendments to 18 U.S.C.
3181 and 3184 permit the United States to extradite, without regard to the existence of a treaty, persons (other
than citizens, nationals or permanent residents of the United States), who have committed crimes of violence
against nationals of the United States in foreign countries. A list of countries with which the United States has
an extradition treaty relationship can be found in the Federal Criminal Code and Rules, following 18 U.S.C. §
3181, but consult the Criminal Division's Office oflnternational Affairs (OIA) to verify the accuracy of the in-
formation. See the Criminal Resource Manual at 535 for the text of§ 3184, and at 536 for links to some of the
extradition treaties the United States has negotiated.

Because the law of extradition varies from country to country and is subject to foreign policy considerations,
prosecutors should consult OIA for advice on any matter relating to extradition before taking any action in such
a case, especially before contacting any foreign official.

See the Criminal Resource Manual at 601, for a discussion of the constitutionality of 18 U .S.C. § 3184.

U.S. Attorneys' Manual 9-15.100, 1997 WL 1944598 (U.S.A.M.)

END OF DOCUMENT




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West law
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U.S. Attorneys' Manual 9-15.200, 1997 WL 1944599 (U.S.A.M.)

                          UNITED STATES DEPARTMENT OF JUSTICE
           CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

                                                  2009

9-15.200 Procedures For Requesting
                                               Extradition
From Abroad

See the Criminal Resource Manual at 602.

U.S. Attorneys' Manual 9-15.200, 1997 WL 1944599 (U.S.A.M.)

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U.S. Attorneys' Manual 9-15.210, 1997 WL 1944600 (U.S.A.M.)

                           UNITED STATES DEPARTMENT OF JUSTICE
            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

                                                       2009

9-15.210 Role of the Office oflnternational Affairs

The Office of International Affairs (OIA) provides information and advice to Federal and State prosecutors
about the procedure for requesting extradition from abroad. OIA also advises and provides support to Federal
prosecutors handling foreign extradition requests for fugitives found in the United States.

Every formal request for international extradition based on Federal criminal charges must be reviewed and ap-
proved by OIA. At the request of the Department of State, formal requests based on State charges are also re-
viewed by OIA before submission to the Department of State.

Acting either directly or through the Department of State, OIA initiates all requests for provisional arrest of fu-
gitives pursuant to extradition treaties. Neither prosecutors nor agents are permitted to contact their foreign
counterparts to request the arrest of a fugitive for extradition. Unauthorized requests cause serious diplomatic
difficulties and may subject the requester to financial liability or other sanctions.

Every extradition treaty is negotiated separately, and each contains different provisions. Experience with one
treaty is not a guide to all others. Therefore, after reviewing this section of the United States Attorneys' Manual,
the first step in any extradition case should be to contact OIA. Attorneys in OIA will advise prosecutors about
the potential for extradition in a given case and the steps to be followed.

U.S. Attorneys' Manual 9-15.210, 1997 WL 1944600 (U.S.A.M.)

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U.S. Attorneys' Manual 9-15.220, 1997 WL 1944601 (U.S.A.M.)

                          UNITED STATES DEPARTMENT OF JUSTICE
           CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

                                                  2009

9-15.220 Determination of Extraditability

See the Criminal Resource Manual at 603.

U.S. Attorneys' Manual 9-15.220, 1997 WL 1944601 (U.S.A.M.)

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U.S. Attorneys' Manual 9-15.225, 1997 WL 1944602 (U.S.A.M.)

                           UNITED STATES DEPARTMENT OF JUSTICE
            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

                                                        2009

9-15.225 Procedure When Fugitive is Non-Extraditable

If the fugitive is not extraditable, other steps may be available to return him or her to the United States or to re-
strict his or her ability to live and travel overseas. See USAM 9-15 .600 et seq. These steps, if taken, should like-
wise be documented.

Courts may require the government to request the extradition of a fugitive as soon as his or her location becomes
known, unless the effort would be useless. If the decision is made to not seek extradition in a particular case, the
prosecutor and the Office of International Affairs (OIA) will make a record to document why extradition was
not possible in the event of a subsequent Speedy Trial challenge.

[cited in USAM 9-15.600; Criminal Resource Manual 602]

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U.S. Attorneys' Manual 9-15.230, 1997 WL 1944603 (U.S.A.M.)

                           UNITED STATES DEPARTMENT OF JUSTICE
            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

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9-15.230 Request for Provisional Arrest

Every extradition treaty to which the United States is a party requires a formal request for extradition, supported
by appropriate documents. Because the time involved in preparing a formal request can be lengthy, most treaties
allow for the provisional arrest of fugitives in urgent cases. Once the United States requests provisional arrest
pursuant to the treaty, the fugitive will be arrested and detained (or, in some countries, released on bail) as soon
as he or she is located. Thereafter, the United States must submit a formal request for extradition, supported by
all necessary documents, duly certified, authenticated and translated into the language of the country where the
fugitive was arrested, within a specified time (from 30 days to three months, depending on the treaty). See
USAM 9-15 .240. Failure to follow through on an extradition request by submitting the requisite documents after
a provisional arrest has been made will resu It in release of the fugitive, strains on diplomatic relations, and pos-
sible liability for the prosecutor.

The Office of International Affairs (OIA) determines whether the facts meet the requirement of urgency under
the terms of the applicable treaty. If they do, OIA requests provisional arrest; if not, the prosecutor assembles
the documents for a formal request. The latter method is favored when the defendant is unlikely to flee because
the time pressures generated by a request for provisional arrest often result in errors that can damage the case. If
provisional arrest is necessary because of the risk of flight, the prosecutor should complete the form for request-
ing provisional arrest and forward it, along with a copy of the charging document and arrest warrant, to OIA by
fax (see the Criminal Resource Manual at 604); alternatively, this exchange of forms and completed requests
between the United States Attorney and OIA can be made by Email. State prosecutors who request provisional
arrest must also certify that the necessary documents will be submitted on time and that all expenses, including
the cost of transportation by United States Marshals, will be covered.

Prosecutors should complete the form in any case in which it appears that provisional arrest may be necessary.
Once it is completed, it may be emailed directly to the Office of International Affairs (OIA) attorney or team re-
sponsible for the country in which the fugitive has been found or emailed to the general OIA email address,
CRM03(0IAINBOX), and OIA's docketing unit will forward it to the appropriate attorney in OIA. The form
may also be faxed to OIA at (202) 514-0080. A copy of the charging document and warrant should be faxed to
OIA.

The form was created with both Federal and State cases in mind. Thus, Assistant United States Attorneys are
free to print the form and give it to state and local prosecutors working on extradition cases. State prosecutors
should fax the form to OIA at (202) 514-0080.

[cited in USAM 9-15.700]




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U.S. Attorneys' Manual 9-15.240, 1997 WL 1944604 (U.S.A.M.)

                              UNITED STATES DEPARTMENT OF JUSTICE
               CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

                                                       2009

9-15.240 Documents Required in Support of Request for
                                              Extradition

The request for extradition is made by diplomatic note prepared by the Department of State and transmitted to
the foreign government through diplomatic channels. It must be accompanied by the documents specified in the
treaty. The Office oflnternational Affairs (OIA) will advise the prosecutor of the documentary requirements, but
it is the responsibility of the prosecutor to prepare and assemble them and forward the original and four copies
to OIA in time to be reviewed, authenticated, translated, and sent through the Department of State to the foreign
government by the deadline.

OIA will provide samples of the documents required in support of the request for extradition. Although every
treaty varies, all generally require:
     • An affidavit from the prosecutor explaining the facts of the case. See Criminal Resource Manual at 605.
     • Copies of the statutes alleged to have been violated and the statute of limitations. See Criminal Resource
     Manual at 607.
     • If the fugitive has not been convicted, certified copies of the arrest warrant and complaint or indictment.
     See Criminal Resource Manual at 606.
     • Evidence, in the form of affidavits or grand jury transcripts, establishing that the crime was committed, in-
     cluding sufficient evidence (i.e., photograph, fingerprints, and affidavit of identifying witness) to establish
     the defendant's identity (CAVEAT: The use of grand jury transcripts or trial transcripts should, if at all pos-
     sible, be avoided). See Criminal Resource Manual at 608.
     • If the fugitive has been convicted, a certified copy of the order of judgment and committal establishing the
     conviction, an affidavit stating the sentence was not or was only partially served and the amount of time re-
     maining to be served, and evidence concerning identity. See Criminal Resource Manual at 609.

Prosecutors should be aware that there are few workable defenses to extradition, although appeals and delays are
common. Fugitives, however, may be able to contest extradition on the basis of minor inconsistencies resulting
from clerical or typographical errors. Although these can be remedied eventually, they take time to untangle.
Therefore, pay careful attention to detail in preparing the documents.

[cited in USAM 9-15.230]

U.S. Attorneys' Manual 9-15.240, 1997 WL 1944604 (U.S.A.M.)

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U.S. Attorneys' Manual 9-15.250, 1997 WL 1944605 (U.S.A.M.)

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            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

                                                      2009

9-15.250 Procedure After Assembling Documents

After assembling the documents required in support of extradition, the prosecutor must review them carefully to
ensure that all dates and charges mentioned in the affidavit and accompanying exhibits are consistent.

Unless told that the foreign country will require a different number of copies of the documents, the prosecutor
should forward the original and four copies of the entire package to Office oflnternational Affairs (OIA).

Attorneys in OIA review the package for completeness and send a copy to the Department of State for transla-
tion, which can take three weeks even for common languages. The cost of translation will be billed to the district
requesting extradition. OIA secures the required certifications on the original and transmits it to the Department
of State.

U.S. Attorneys' Manual 9-15.250, 1997 WL 1944605 (U.S.A.M.)

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U.S. Attorneys' Manual 9-15.300, 1997 WL 1944606 (U.S.A.M.)

                           UNITED STATES DEPARTMENT OF JUSTICE
            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

                                                      2009

9-15.300 Procedure in the Foreign Country

The Department of State will send the extradition documents and the translation to the American Embassy in the
foreign country, which will present them under cover of a diplomatic note formally requesting extradition to the
appropriate agency of the foreign government, usually the foreign ministry. The request and supporting docu-
ments are then forwarded to the court or other body responsible for determining whether the requirements of the
treaty and the country's domestic law have been met.

In general, the foreign government's decision on our extradition request is based on the request itself and any
evidence presented by the fugitive. Because the American prosecutor will not have the opportunity to appear be-
fore the foreign court, the written submission, particularly the prosecutor's affidavit, must be as persuasive as
possible. This is particularly essential when the charges are based on statutes unique to United States law, such
as RICO or CCE.

Though factual defenses to extradition are limited, the fugitive may delay a decision through procedural chal-
lenges. The determination of extraditability is often subject to review or appeal. Prediction of the time required
to return an individual to the United States is difficult and depends on the circumstances of the individual case
and the practice of the foreign country involved.

U.S. Attorneys' Manual 9-15.300, 1997 WL 1944606 (U.S.A.M.)

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U.S. Attorneys' Manual 9-15.400, 1997 WL 1944607 (U.S.A.M.)

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            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

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9-15.400 Return of the Fugitive

Once the foreign authorities notify the American Embassy that the fugitive is ready to be surrendered, the Office
of International Affairs (OIA) will inform the prosecutor and arrange with the United States Marshals Service
for agents to escort the fugitive to the United States. United States Marshals must provide the escort even in a
State case. However, in rare cases arrangements are sometimes made for State or other federal law enforcement
agents to accompany the U.S. Marshals. If the fugitive is an alien, OIA will ask the INS to issue a "parole letter"
authorizing the alien to enter the country.

U.S. Attorneys' Manual 9-15.400, 1997 WL 1944607 (U.S.A.M.)

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U.S. Attorneys' Manual 9-15.500, 1997 WL 1944608 (U.S.A.M.)

                           UNITED STATES DEPARTMENT OF JUSTICE
            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

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9-15.500 Post
                                                 Extradition
Considerations--Limitations on Further Prosecution

Every extradition treaty limits extradition to certain offenses. As a corollary, all extradition treaties restrict pro-
secution or punishment of the fugitive to the offense for which extradition was granted unless (1) the offense
was committed after the fugitive's extradition or (2) the fugitive remains in the jurisdiction after expiration of a
"reasonable time" (generally specified in the extradition treaty itself) following completion of his punishment.
This limitation is referred to as the Rule of Specialty. Prosecutors who wish to proceed against an extradited per-
son on charges other than those for which extradition was granted must contact the Office of International Af-
fairs (OIA) for guidance regarding the availability of a waiver of the Rule by the sending State.

Frequently, defendants who have been extradited to the United States attempt to dismiss or limit the govern-
ment's case against them by invoking the Rule of Specialty. There is a split in the courts on whether the defend-
ant has standing to raise specialty: some courts hold that only a party to the Treaty (i.e., the sending State) may
complain about an alleged violation of the specialty provision, other courts allow the defendant to raise the issue
on his own behalf, and other courts take a middle position and allow the defendant to raise the issue if it is likely
that the sending State would complain as well. Whenever a defendant raises a specialty claim, the prosecutor
should contact OIA for assistance in responding.

Defendants also occasionally make other substantive or procedural challenges to their extradition. It is im-
possible to anticipate all the creative challenges that may be devised; if a returned defendant challenges his ex-
tradition, you should contact OIA.

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U.S. Attorneys' Manual 9-15.600, 1997 WL 1944609 (U.S.A.M.)

                           UNITED STATES DEPARTMENT OF JUSTICE
            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

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9-15.600 Alternatives To
                                                     Extradition

A fugitive may be non-extraditable for any number of reasons, including but not limited to instances where he or
she is a national of the country of refuge, the crime is not an extraditable offense, the statute of limitations has
run in the foreign country, or extradition was requested and denied. (If, after discussing the case with the Office
of International Affairs (OJA), the prosecutor concludes that the fugitive is not extraditable, that conclusion and
the reasons should be documented. See USAM 9-15.225.)

There may be available alternatives that will result either in the return of the fugitive or limitations on his or her
ability to live or travel overseas. OJA will advise the prosecutor concerning the availability of these methods.
These alternative methods are discussed in USAM 9-15.610- 650.

[cited in USAM 9-15.225]

U.S. Attorneys' Manual 9-15.600, 1997 WL 1944609 (U.S.A.M.)

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U.S. Attorneys' Manual 9-15.610, 1997 WL 1944610 (U.S.A.M.)

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             CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

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9-15. 610 Deportations, Expulsions, or other Extraordinary Renditions

If the fugitive is not a national or lawful resident of the country in which he or she is located, the Office of Inter-
national Affairs (OIA), through the Department of State or other channels, may ask that country to deport or ex-
pel the fugitive.

In United States v. Alvarez-Machain, 504 U.S. 655 (1992), the Supreme Court ruled that a court has jurisdiction
to try a criminal defendant even if the defendant was abducted from a foreign country against his or her will by
United States agents. Though this decision reaffirmed the Jong-standing proposition that personal jurisdiction is
not affected by claims of abuse in the process by which the defendant is brought before the court, it sparked con-
cerns about potential abuse of foreign sovereignty and territorial integrity.

Due to the sensitivity of abducting defendants from a foreign country, prosecutors may not take steps to secure
custody over persons outside the United States (by government agents or the use of private persons, like bounty
hunters or private investigators) by means of Alvarez-Machain type renditions without advance approval by the
Department of Justice. Prosecutors must notify the Office of International Affairs before they undertake any
such operation. If a prosecutor anticipates the return of a defendant, with the cooperation of the sending State
and by a means other than an Alvarez-Machain type rendition, and that the defendant may claim that his return
was illegal, the prosecutor should consult with OIA before such return. See Criminal Resource Manual at 610,
for further discussion of the law on this issue.

[cited in USAM 9-15.600]

U.S. Attorneys' Manual 9-15.610, 1997 WL 1944610 (U.S.A.M.)

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U.S. Attorneys' Manual 9-15.620, 1997 WL 1944611 (U.S.A.M.)

                           UNITED STATES DEPARTMENT OF JUSTICE
            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

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9-15.620
                                                    Extradition
From a Third Country

If the fugitive travels outside the country from which he or she is not extraditable, it may be possible to request
his or her extradition from another country. This method is often used for fugitives who are citizens in their
country of refuge. Some countries, however, will not permit extradition if the defendant has been lured into their
territory. Such ruses may also cause foreign relations problems with both the countries from which and to which
the lure takes place. Prosecutors mu~t notify the Office of International Affairs before pursuing any scenario in-
volving an undercover or other operation to lure a fugitive into a country for law enforcement purposes ( extra-
dition, deportation, prosecution).

[cited in USAM 9-15.635]

U.S. Attorneys' Manual 9-15.620, 1997 WL 1944611 (U.S.A.M.)

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U.S. Attorneys' Manual 9-15.630, 1997 WL 1944612 (U.S.A.M.)

                           UNITED STATES DEPARTMENT OF JUSTICE
            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

                                                       2009

9-15.630 Lures

A lure involves using a subterfuge to entice a criminal defendant to leave a foreign country so that he or she can
be arrested in the United States, in international waters or airspace, or in a third country for subsequent extradi-
tion, expulsion, or deportation to the United States. Lures can be complicated schemes or they can be as simple
as inviting a fugitive by telephone to a party in the United States.

As noted above, some countries will not extradite a person to the United States if the person's presence in that
country was obtained through the use of a lure or other ruse. In addition, some countries may view a lure of a
person from its territory as an infringement on its sovereignty. Consequently, a prosecutor must consult with the
Office oflnternational Affairs before undertaking a lure to the United States or a third country.

U.S. Attorneys' Manual 9-15.630, 1997 WL 1944612 (U.S.A.M.)

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                                                       2009

9-15.635 Interpol Red Notices

An Interpol Red Notice is the closest instrument to an international arrest warrant in use today. Please be aware
that if a Red Notice is issued, the prosecutor's office is obligated to do whatever work is required to produce the
necessary extradition documents within the time limits prescribed by the controlling extradition treaty whenever
and wherever the fugitive is arrested. Further, the prosecutor's office is obliged to pay the expenses pursuant to
the controlling treaty.

Interpol Red Notices are useful when the fugitive's location or the third country to which he or she may travel
(see USAM 9-15.620), is unknown. For additional information about Interpol Red Notices, see the Criminal Re-
source Manual at 611.

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U.S. Attorneys' Manual 9-15.640, 1997 WL 1944614 (U.S.A.M.)

                           UNITED STATES DEPARTMENT OF JUSTICE
            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

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9-15.640 Revocation of United States Passports

The Department of State may revoke the passport of a person who is the subject of an outstanding Federal war-
rant. Revocation of the passport can result in loss of the fugitive's lawful residence status, which may lead to his
or her deportation. If the fugitive is wanted on State charges only, it will be necessary to obtain a warrant on a
UF AP complaint because the Department of State is only authorized to revoke the passports of persons named in
Federal warrants.

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U.S. Attorneys' Manual 9-15.650, 1997 WL 1944615 (U.S.A.M.)

                           UNITED STATES DEPARTMENT OF JUSTICE
            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

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9-15.650 Foreign Prosecution

If the fugitive has taken refuge in the country of which he or she is a national, and is thereby not extraditable, it
may be possible to ask that country to prosecute the individual for the crime that was committed in the United
States. This can be an expensive and time consuming process and in some countries domestic prosecution is lim-
ited to certain specified offenses. In addition, a request for domestic prosecution in a particular case may conflict
with U.S. law enforcement efforts to change the "non-extradition of nationals" law or policy in the foreign coun-
try. Whether this option is available or appropriate should be discussed with OIA.

[cited in USAM 9-15.600]

U.S. Attorneys' Manual 9-15.650, 1997 WL 1944615 (U.S.A.M.)

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U.S. Attorneys' Manual 9-15.700, 1997 WL 1944616 (U.S.A.M.)

                           UNITED STATES DEPARTMENT OF JUSTICE
            CHAPTER 9-15.000 INTERNATIONAL EXTRADITION AND RELATED MATTERS

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9-15.700 Foreign
                                                    Extradition
Requests

Foreign requests for extradition of fugitives from the United States are ordinarily submitted by the embassy of
the country making the request to the Department of State, which reviews and forwards them to the Criminal Di-
vision's Office of International Affairs (OIA). The requests are of two types: formal requisitions supported by all
documents required under the applicable treaty, or requests for provisional arrest. (Requests for provisional ar-
rest may be received directly by the Department of Justice if the treaty permits. See USAM 9-15.230 for an ex-
planation of provisional arrest.)

When OIA received a foreign extradition request, in summary, the following occurs:
   1. OIA reviews both types of requests for sufficiency and forwards appropriate ones to the district.
   2. The Assistant United States Attorney assigned to the case obtains a warrant and the fugitive is arrested
   and brought before the magistrate judge or the district judge.
   3. The government opposes bond in extradition cases.
   4. A hearing under 18 U.S.C. § 3184 is scheduled to determine whether the fugitive is extraditable. If the
   court finds the fugitive to be extraditable, it enters an order of extraditability and certifies the record to the
   Secretary of State, who decides whether to surrender the fugitive to the requesting government. In some
   cases a fugitive may waive the hearing process.
   5. OIA notifies the foreign government and arranges for the transfer of the fugitive to the agents appointed
   by the requesting country to receive him or her. Although the order following the extradition hearing is not
   appealable (by either the fugitive or the government), the fugitive may petition for a writ of habeas corpus
   as soon as the order is issued. The district court's decision on the writ is subject to appeal, and the extradi-
   tion may be stayed ifthe court so orders.

See Criminal Resource Manual at 612, for a more detailed discussion of foreign extradition requests.

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U.S. Attorneys' Manual 9-15.800, 1997 WL 1944617 (U.S.A.M.)

                           UNITED STATES DEPARTMENT OF JUSTICE
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                                                       2009

9-15.800 Plea Agreements and Related Matters--Prohibition

Persons who are cooperating with a prosecutor may try to include a "no extradition" clause in their plea agree-
ments. Such agreements, whether formal or informal, may be given effect by the courts. If a foreign country sub-
sequently requests the person's extradition, the United States faces the unpleasant dilemma of breaching its sol-
emn word either to the person involved or to its treaty partner. Petition of Geisser, 627 F.2d 745 (5th Cir. 1980),
describes the enormous practical problems of resolving such a dilemma. Related matters involve agreements
with potential witnesses to prevent or delay their deportation.

Prosecutors may not agree either formally or informally to prevent or delay extradition or deportation unless
they submit a written request for authorization, and receive an express written approval from the Assistant Attor-
ney General, Criminal Division. Requests should be submitted to the Office of International Affairs after en-
dorsement by the head of the section or office responsible for supervising the case.

[cited in USAM 9-16.020; USAM 9-73.510]

U.S. Attorneys' Manual 9-15.800, 1997 WL 1944617 (U.S.A.M.)

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EXHIBIT 15
                   Functional Translation of the



                 Constitution
                               of the
   Republic of Maldives
          2008




                                Done By
                      Ms. Dheena Hussain
 LLB. (Hons), (Birmingham), LLM (London), Barrister-at-Law (Lincoln's Inn)


                            At the Request of
       Ministry of Legal Reform, Information and Arts


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                                        CHAPTER I

                     STATE, SOVEREIGNTY AND CITIZENS


C.Onstitution            1.   This is the "Constitution of the Republic of the
                              Maldives". Any reference to the "Constitution" herein is
                              a reference to the Constitution of the Republic of the
                              Maldives.

Republic of the          2.   The Maldives is a sovereign, independent, democratic
Maldives
                              Republic based on the principles of Islam, and is a
                              unitary State, to be known as the Republic of the
                              Maldives. Any reference to "the Maldives" is a reference
                              to the Republic of the Maldives.

Territory of the         3·   The territory of the Maldives encompasses the land, air
Maldives
                              space, sea and seabed within the arch.ipelagic baselines
                              of the Maldives drawn in accordance with the law, and
                              includes the territorial waters, the seabed and air space
                              thereof beyond the said baselines. Any changes to the
                              territory of the Maldives may only be made pursuant to
                              a law enacted by at least a two-third majority of the
                              total membership of the People's Majlis.

Powers of the citizens   4.   All the powers of the State of the Maldives are derived
                              from, and remain with, the citizens.

Legislative power        s.   All legislative power in the Maldives is vested in the
                              People's Majlis.

Executive power          6.   As provided for in this Constitution the executive
                              power is vested in the President.

Judicial power           7.   The judicial power is vested in the courts of the
                              Maldives.




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Supremacy of        8.    The powers of the State shall be exercised m
Constitution
                          accordance with this Constitution.

Citizens            9.       (a) The following persons are citizens of the
                                 Maldives:

                                    1.   citizens of the Maldives at the
                                         commencement of this Constitution;

                                    2.   children born to a citizen of the Maldives;
                                         and

                                    3. foreigners who, in accordance with the
                                       law, become citizens of the Maldives.

                             (b) No citizen of the Maldives may be deprived of
                                citizenship.

                             (c) Any person who wishes to relinquish his
                                 citizenship may do so in accordance with law.

                             (d) Despite the provisions of article (a) a non-
                                 Muslim may not become a citizen of the
                                 Maldives.

State Religion      10.      (a) The religion of the State of the Maldives is Islam.
                                 Islam shall be the one of the basis of all the laws
                                 of the Maldives

                             (b) No law contrary to any tenet of Islam shall be
                                enacted in the Maldives

National Language   11.   The national language of the Maldives is Dhivehi.


National Flag       12.      (a) The national flag of the Maldives consists of a
                                 white crescent in the centre of a green rectangle


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                                   surrounded by a red border.

                               (b) The dimensions and colour code of the national
                                   flag and the placing of the crescent on the
                                   national flag shall be as specified in Schedule 3
                                   of this Constitution.

Currencv of the       13.   The unit of currency of the Maldives is the Rufiyaa,
MaldiveS
                            divided into one hundred Laari.

Capital               14.   The capital of the Maldives is the island of Male'.


National Day          15·   The national day of the Maldives is the first day of the
                            morith of Rabeeu al-Awwal.




                                     CHAPTER IT

                  FUNDAMENTAL RIGHTS AND FREEDOMS

Guarantee of Rights   16.      (a) This Constitution guarantees to aJl persons, in a
                                   manner that is not contrary to any tenet of
                                   Islam, the rights and freedoms contained within
                                   this Chapter, subject only to such reasonable
                                   limits prescribed by a law enacted by the
                                   People's Majlis in a manner that is not contrary
                                   to this Constitution. Any such law enacted by the
                                   People's Majlis can limit the rights and freedoms
                                   to any extent only if demonstrably justified in a
                                   free and democratic society.

                               (b) The limitation of a right or freedom specified in .
                                   this Chapter by a law enacted by the People's
                                   Majlis as provided for in this Constitution, and


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                    in order to protect and maintain the tenets of
                    Islam, shall not be contrary to article (a).

                 (c) In deciding whether a right or freedom in this
                     Chapter, has been limited in accordance with
                     article (a) and (b), a court must be fully
                     cognisant of and make reference to all the facts,
                     including:

                      1.   the nature and character of the right or
                           freedom;

                      2.   the purpose and importance of limiting the
                           right or freedom;

                      3. the extent and manner of limiting the right
                         or freedom;

                      4. the relationship between the limitation of
                         the right or freedom and the importance of
                         the right or freedom;

                      5. the extent to which the objective for which
                         the right or freedom has been limited could
                         have been achieved by limiting the right or
                         freedom to a lesser degree;

                      6. the extent to which the right or freedom
                         must be limited in order to protect the
                         tenets of Islam, where the right or freedom
                         has been limited pursuant to article (b).

                 (d) The onus of establishing that the limitation to
                     any extent, of a right or freedom included in this
                     Chapter is within the reasonable limitations
                     prescribed in this Constitution is on the State or
                     the person asserting the limitation of the right or
                     freedom.


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Non-discrimination   17.      (a) Everyone is entitled to the rights and freedoms
                                  included in this Chapter without discrimination
                                  of any kind, including race, national origin,
                                  colour, sex, age, mental or physical disability,
                                  political or other opinion, property, birth or
                                  other status, or native island.

                              (b) Special    assistance     or     protection       to
                                  disadvantaged individuals or groups, or           to
                                  groups requiring special social assistance,       as
                                  provided in law shall not be deemed to            be
                                  discrimination, as provided for in article (a).

Duty of the State    18.   It is the duty of the State to follow the provisions of this
                           Constitution, and to protect and promote the rights and
                           freedoms provided in this Chapter.

Freedom from         19.   A citizen is free to engage in any conduct or activity
restraint
                           that is not expressly prohibited by Islamic Shari' ah or
                           by law. No control or restraint may be exercised
                           against any person unless it is expressly authorised by
                           law.

Equality             20.   Every individual is equal before and under the law, and
                           has the right to the equal protection and equal benefit
                           of the law.

Right to life        21.   Everyone has the right to life, liberty and security of the
                           person, and the right not be deprived thereof to any
                           extent except pursuant to a law made in accordance
                           with Article 16 of this Constitution.

Protection of the    22.   The State has a fundamental duty to protect and
environment
                           preserve the natural environment, biodiversity,
                           resources and beauty of the country for the benefit of
                           present and future generations. The State shall
                           undertake and promote desirable economic and social
                           goals through ecologically balanced sustainable
                           development and shall take measures necessary to


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                            foster conservation, prevent pollution, the extinction of
                            any species and ecological degradation from any such
                            goals.

Economic and social   23.   Every citizen the following rights pursuant to this
rights
                            Constitution, and the State undertakes to achieve the
                            progressive realisation of these rights by reasonable
                            measures within its ability and resources:

                               (a) adequate and nutritious food and clean water;


                               (b) clothing and housing;


                               (c) good standards of health care, physical and
                                   mental;

                               (d) a    healthy    and     ecologically    balanced
                                   environment;

                               (e) equal access to means of communication, the
                                   State media, transportation facilities, and the
                                   natural resources of the country;

                               (f) the establishment of a sewage system of a
                                  reasonably adequate        standard     on   every
                                  inhabited island;

                               (g) the establishment of an electricity system of a
                                   reasonably adequate standard on every
                                   inhabited island that is commensurate to that
                                   island.

Privacy               24.   Everyone has the right to respect for his private and
                            family life, his home and his private communications.
                            Every person must respect these rights V\rith respect to
                            others.


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No slavery or forced    25.      (a) No one shall be held in slavery or servitude, or
labour
                                     be required to perform forced labour.

                                 (b) Compulsory military service, service required in
                                    cases of emergency or calamity threatening the
                                    life or well-being of the community, or service
                                    required pursuant to a court order shall not be
                                    deemed to be contrary to article (a).

Right to vote and       26.   Unless otherwise provided in this Constitution, every
run for public office
                              citizen of the Maldives eighteen years of age or older
                              has the right:

                                 (a) to vote in elections, and in public referendums,
                                     which shall be held by secret ballot;

                                 (b) to run for public office;


                                 (c) to take part in the conduct of public affairs,
                                     directly    or    through   freely    chosen
                                     representatives.

Freedom of              27.   Everyone has the right to freedom of thought and the
expression
                              freedom to communicate opinions and expression in a
                              manner that is not contrary to any tenet of Islam.

Freedom of the          28.   Everyone has the right to freedom of the press, and
media
                              other means of communication, including the right to
                              espouse, disseminate and publish news, information,
                              views and ideas. No person shall be compelled to
                              disclose the source of any information that is espoused,
                              disseminated or published by that person.

Freedom of              29.   Everyone has the freedom to acquire and impart
acquiring and
imparting                     knowledge, information and learning.
lmowledge




                                               7
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Freedom to form                  (a) Every citizen has the right to establish and to
political parties,
                        30.
associations and                     participate in the activities of political parties.
societies



                                 (b) Everyone has the freedom to form associations
                                    and societies, including the following:

                                        1.    the right to establish and participate in
                                               any association or society for economic,
                                               social, educational or cultural or
                                               purposes;

                                         2.   the right to form trade unions, to
                                               participate or not participate in their
                                               activities.

Right to strike         31.   Every person employed in· the Maldives and all other
                              workers have the freedom to stop work and to strike in
                              order to protest.

Freedom of              32.   Everyone has the right to freedom of peaceful assembly
assembly
                              without prior permission of the State.

Right to protect        33.   Everyone has the right to protect one's reputation and
reputation and name
                              good name.

Right to marry and      34.      (a) Every person of marriageable age as determined
establishment of the
family                               by law has the right to marry, and to establish a
                                     family as specified in law. The family, being the
                                     natural and fundamental unit of society, is
                                     entitled to special protection by society and the
                                     State.

                                 (b) Children must be afforded special protection as
                                    specified in law in the event of a marital
                                    breakdown of the parents.

Special protection to   35.      (a) Children and young people are entitled to
children, young,
elderly and                          special protection and special assistance from


                                                 8
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disadvantaged                 the family, the community and the State.
people
                              Children and young people shall not be harmed,
                              sexually abused, or discriminated against in any
                              manner and shall be free from unsuited social
                              and economic exploitation. No person shall
                              obtain undue benefit from their labour.

                           (b) Elderly and disadvantaged persons are entitled
                              to protection and special assistance from the
                              family, the community and the State.

Right to education   36.   (a) Everyone has the right to education without
                               discrimination of any kind.

                           (b) Primary and secondary education shall be freely
                              provided by the State. It is imperative on parents
                              and the State to provide children ·with primary
                              and secondary education. Opportunity for
                              higher education shall be generally accessible to
                              all citizens.

                           (c) Education shall strive to inculcate obedience to
                               Islam, instil love for Islam, foster respect for
                               human rights, and promote understanding,
                               tolerance and friendship among all people.

Right to work        37.   (a) Every citizen has the right to engage in any
                               employment or occupation.

                           (b) Everyone is entitled to just and safe conditions
                              of work, fair wages, equal remuneration for work
                              of equal value, and equal opportunity for
                              promotion.

                           (c) Everyone has the right to rest and leisure,
                               including limits on hours of work and periodic
                               holidays with pay.




                                        9
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                                (d) Everyone has the right to spend time at rest and
                                    leisure. In order to provide this right to each
                                    employed person, the maximum number of
                                    working hours have to be determined as well as
                                    the length of paid holidays.

Right of pension       38.   Every one engaged in employment with the State shall
                             have the right of pension as provided by law.

Right to participate   39.      (a) Everyone has the right to participate in the
in cultural life
                                    cultural life of the nation, and to benefit from
                                    literary and artistic endeavours.

                                (b) The State shall promote education, culture,
                                   literature and the arts, within the limits of its
                                   resources.

Right to acquire and   40.      (a) Every citizen has the right to acquire, own,
hold property
                                    inherit, transfer or otherwise transact of such
                                    property.

                                (b) Private property shall be inviolable, and may
                                   only be compulsorily acquired by the State for
                                   the public good, as expressly prescribed by law,
                                   and as authorised by order of the court. Fair and
                                   adequate compensation shall be paid in all
                                   cases, as determined by the court.

                                (c) Nothing in this Article prevents any law
                                    authorising a court to order the forfeiture
                                    (without the giving of any compensation) of
                                    illegally acquired or possessed property, or
                                    enemy property.

                                (d) Property of a person shall not be forfeited in
                                    substitution for any offence.




                                            10
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Freedom of             41.   (a) Every citizen has the freedom to enter, remain in
movement and
establishment                    and leave the Maldives, and to travel within the
                                 Maldives.

                             (b) Every citizen has the right to move to, and take
                                up residence on, any inhabited island of the
                                Maldives.

                             (c) Every citizen shall have equal access to the
                                 receipt of rights and benefits from any island
                                 where he has established residency.

Fair and transparent   42.    (a) In the determination of one's civil rights and
hearings
                                  obligations or of any criminal charge, everyone
                                  is entitled to a fair and public hearing within a
                                  reasonable time by an independent court or
                                  tribunal established by law.

                              (b) All judicial proceedings in the Maldives shall
                                 be conducted with justice, transparency and
                                 impartiality.


                             (c) Trials of any matter shall be held publicly, but
                                 the presiding judge may exclude the public from
                                 all or part of a trial in accordance with
                                 democratic norms:
                                    1.   in the interests of public morals, public
                                          order or national security;

                                    2.   where the interest of juveniles or the
                                         victims of a crime so require; or

                                    3. in other special circumstances where
                                        publicity would prejudice the interests of
                                        justice.




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                                 (d) All judgements or orders of a Court shall be
                                     pronounced publicly, unless the Court
                                     specifically orders otherwise for the reasons
                                     stipulated in article (c). All publicly
                                     pronounced judgements or orders shall be
                                     available to the public.

Fair administrative   43.       (a) Everyone has the right to administrative action
action
                                    that is lawful, procedurally fair, and
                                    expeditious.
                                                                                        I'i
                                (b) Everyone whose rights have been adversely
                                    affected by administrative action has the right
                                    to be given vvritten reasons.
                                                                                        :i
                                (c)Where the rights of a person, a group or
                                   community has been adversely affected by              I

                                   administrative action, every such person, group      ,!
                                                                                        ',
                                   or every person who may be directly affected by
                                   such action has the right to submit the matter to     i
                                   court.

Personal liability    44.   The application of the criminal law or criminal
                            procedure, including the conduct of investigations,
                            criminal proceedings and enforcement of sentences as
                            provided by law, shall extend to the accused person
                            only and shall not affect the legal rights or obligations
                            of any other person.

No unlawful arrest    45.   Everyone has the right not to be arbitrarily detained,
or detention
                            arrested or imprisoned except as provided by law
                            enacted by the People's Majlis in accordance vvith
                            Article 16 of this Constitution.

Power of arrest and   46.   No person shall be arrested or detained for an offence
detention
                            unless the arresting officer observes the offence being
                            committed, or has reasonable and probable grounds or
                            evidence to believe the person has committed an
                            offence or is about to commit an offence, or under the


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     Case 1:14-mj-00056 Document 13-3 Filed 07/21/14 Page 29 of 51
                             authority of an arrest warrant issued by the court.


Search and seizure    4 7.      (a) No person shall be subject to search or seizure
                                    unless there is reasonable cause.

                                (b) Residential property shall be inviolable, and
                                    shall not be entered without the consent of the
                                    resident, except to prevent immediate and
                                    serious harm to life or property, or under the
                                    express authorisation of an order of the Court.

Rights on arrest or   48.    Everyone has the right on arrest or detention:
detention



                                (a) to be informed immediately of the reasons
                                    therefore, and in writing within at least twenty
                                    four hours;

                                (b) to retain and instruct legal counsel Vlrithout delay
                                    and to be informed of this right, and to have
                                    access to legal counsel facilitated until the
                                    conclusion of the matter for which he is under
                                    arrest or detention;

                                (c) to remain silent, except to establish identity, and
                                    to be informed of this right;

                                (d) to be brought v.rithin twenty four hours before a
                                    Judge, who has power to determine the validity
                                    of the detention, to release the person Vlrith or
                                    Vlrithout conditions, or to order the continued
                                    detention of the accused.

Release of accused    49.    No person shall be detained in custody pnor to
                             sentencing, unless the danger of the accused
                             absconding or not appearing at trial, the protection of
                             the public, or potential interference Vlrith Vlritnesses or


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                            evidence dictate otherwise. The release may be subject
                            to conditions of bail or other assurances to appear as
                            required by the court.

Prompt investigation 50.    After notice of an alleged offence has been brought to
and prosecution
                            the attention of the investigating authorities, the
                            matter shall be investigated promptly, and where
                            warranted, the Prosecutor General shall lay charges as
                            quickly as possible.

Rights of the accused 51.   Everyone charged with an offence has the right:


                               (a) to be informed without delay of the specific
                                   offence in a language understood by the
                                   accused;

                               (b) to be tried within a reasonable time;


                               (c) not to be compelled to testify;


                               (d) to an interpreter to be provided by the State
                                   where he does not speak the language in which
                                   the proceedings are conducted, or is deaf or
                                   mute;

                               (e) to have adequate time and facilities for the
                                   preparation of his defence and to communicate
                                   with and instruct legal counsel of his own
                                   choosing;

                               (f) to be tried in person, and to defend himself
                                  through legal counsel of his ovm choosing;

                               (g) to examine the witnesses against him and to
                                   obtain the attendance and. examination of


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                                                                    .   I~




                                     witnesses;

                                 (h) to be presumed innocent until proven guilty
                                     beyond a reasonable doubt.

Confessions and         52.   No confession shall be admissible in evidence unless
illegal evidence
                              made in court by an accused who is in a sound state of
                              mind. No statement or evidence must be obtained from
                              any source by compulsion or by unlawful means and
                              such statement or evidence is inadmissible in evidence.

Assistance of legal     53·      (a) Everyone has the right to retain and instruct
counsel
                                     legal counsel at any instance where legal
                                     assistance is required.

                                 (b) In serious criminal cases, the State shall provide
                                     a lawyer for an accused person who cannot
                                     afford to engage one.

No degrading            54.   No person shall be subjected to cruel, inhumane or
treatment or torture
                              degrading treatment or punishment, or to torture.

No imprisonment         55.   No person shall be imprisoned on the ground of non-
for non-fulfilment of
contractual                   fulfilment of a contractual obligation.
obligation



Right to appeal         56.   Everyone related to a matter has the right to appeal a
                              conviction and sentence, or judgement or order in a
                              criminal or civil matter.

Humane treatment        57.   Everyone deprived of liberty through arrest or
of arrested or
detained persons              detention as provided by law, pursuant to an order of
                              the court, or being held in State care for social reasons,
                              shall be treated with humanity and with respect for the
                              inherent dignity of the human person. A person may be
                              deprived of the rights or freedoms specified in this
                              Chapter only to the extent required for the purpose for
                              which he is deprived of his liberty.


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Compensation          58.   Everyone who has been arrested or detained without
                            legal authority or justification has the right to be
                            compensated.

Retrospective         59·      (a) No person shall be found guilty of any act or
legislation
                                   omission which did not constitute an offence
                                   under Islamic Shari'ah or law at the time
                                   committed. Nor shall a more severe penalty be
                                   imposed than the one applicable at the time the
                                   offence was committed. If the punishment for an
                                   offence has been reduced between the time of
                                   commission and the time of sentencing, the
                                   accused is entitled to the benefit of the lesser
                                   punishment.

                               (b) This Article shall not prejudice the trial and
                                  punishment of any person for any act which was
                                  criminal according to international law.

Prohibition of        60.      (a) If an accused is acquitted of an offence by a
double jeopardy
                                   court, he shall not be tried again for the same or
                                   substantially the same offence. If an accused is
                                   found guilty and punished for an offence he shall
                                   not be tried or punished again for the same or
                                   substantially the same offence.

                               (b) The principle stated in article (a) does not apply
                                  to appeals relating to the offence.

Publication of acts   61.      (a) All statutes, regulations, government orders
and regulations
                                   requiring compliance by citizens and
                                   government policies shall be published and
                                   made available to the public.

                               (b) No person may be subjected to any punishment
                                  except pursuant to a statute or pursuant to a
                                  regulation made under authority of a statute,
                                  which has been made available to the public and
                                  which defines the criminal offence and the


                                            16
     Case 1:14-mj-00056 Document 13-3 Filed 07/21/14 Page 33 of 51
                                    punishment for commission of the offence.

                                 (c) All   information concerning government
                                     decisions and actions shall be made public,
                                     except information that is declared to be State
                                     secrets by a law enacted by the People's Majlis.

                                 (d) Every citizen has the right to obtain all
                                     information possessed by the Government about
                                     that person.

Retention of other     62 •      (a) The enumeration of rights and freedoms in this
rights
                                      Chapter are guaranteed equally to female and
                                    . male persons.

                                 (b) The  enumeration of rights and freedoms
                                    individually in this Chapter shall not be
                                    construed to deny or negate other rights
                                    retained by the people which are not specified in
                                    this Chapter.

Voidance of laws              Any law or part of any law contrary to the fundamental
inconsistent with
fundamental rights            rights or freedoms guaranteed by this Chapter shall be
                              void or void to the extent of such inconsistency.

Non-compliance                No employee of the State shall impose any orders on a
with unlawful orders
                              person except under authority of a law. Everyone has
                              the right not to obey an unlawful order.

Application to court          Anyone whose rights or freedoms, as guaranteed by
to obtain a remedy
                              this Chapter, have been infringed or denied may apply
                              to a court to obtain a just remedy.

Voidance oflaws        66.    All existing statutes, regulations, decrees and notices
inconsistent with
rights and freedoms           inconsistent with the fundamental rights and freedoms
                              provisions in this Chapter shall, to the extent of the
                              inconsistency, become void on the commencement of
                              this Constitution.


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Responsibilities and   67.   The exercise and enjoyment of fundamental rights and
duties
                             freedoms is inseparable from the performance of
                             responsibilities and duties, and it is the responsibility
                             of every citizen:

                                (a) to respect and protect the rights and freedoms of
                                    others;

                                (b) to  foster tolerance, mutual respect,         and
                                   friendship among all people and groups;

                                (c) to contribute to the well-being and advancement
                                    of the community;

                                (d) to promote the sovereignty, unity, security,
                                    integrity and dignity of the Maldives;

                                (e) to respect the Constitution and the rule of law;


                                (f) to promote democratic values and practices in a
                                   manner that is not inconsistent with any tenet
                                   of Islam;

                                (g) to preserve and protect the State religion of
                                   Islam, culture, language and heritage of the
                                   country;

                                (h) to preserve and protect the natural environment,
                                   biodiversity, resources and beauty of the country
                                   and to abstain from all forms of pollution and
                                   ecological degradation;

                                (i) to respect the national flag, state emblem and
                                   the national anthem.

                             Every person in the Maldives must also respect these


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EXHIBIT 16
Criminal Resource Manual 611 Interpol Red Notices I USAM I Department of Justice                          Page 1of1




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     U.S. Attorneys» U.S. Attorneys' Manual» Criminal Resource Manual


     Criminal Resource Manual 611 Interpol Red Notices

      611       Interpol Red Notices

      An Interpol Red Notice is the closest instrument to an international arrest warrant in use today.
      Interpol (the International Criminal Police Organization) circulates notices to member countries
      listing persons who are wanted for extradition. The names of persons listed in the notices are placed
      on lookout lists (e.g., NCIC or its foreign counterpart). When a person whose name is listed comes to
      the attention of the police abroad, the country that sought the listing is notified through Interpol and
      can request either his provisional arrest (if there is urgency) or can file a formal request for
      extradition.

      Please be aware that if a Red Notice is issued, the prosecutor's office is obligated to do whatever work
      is required to produce the necessary extradition documents within the time limits prescribed by the
      controlling extradition treaty whenever and wherever the fugitive is arrested. Further, the
      prosecutor's office is obliged to pay the expenses pursuant to the controlling treaty. Those expenses,
      which can be quite high, will typically include the costs of translating the extradition documents and
      may include the costs of hiring local counsel to represent the United States. Further, these
      obligations, which remain until the fugitive is arrested or the Red Notice is withdrawn, may result in
      prosecutors who have succeeded the Assistant United States Attorney who originally requested the
      Red Notice having to prepare the documents and arrange for payment of hefty fees years after the
      fugitive originally fled from the United States. Therefore, it is important for prosecutors to make
      certain that the case is significant enough to warrant placing their offices under such a burden in
      deciding whether or not to request issuance of a Red Notice.
      [cited in USAM 2-15.635]




     <Criminal Resource Manual 610                              Criminal Resource Manual 612 Role Of The
     Deportations. Expulsions. Or Other                          Department Of State In Foreign Extradition
     Extraordinary Renditions                                                                   Requests>




http://www.justice.gov/usam/criminal-resource-manual-611-interpol-red-notices                                4/7/2015
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                                A global presence
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                                At INTERPOL today, we have a global membership of 190 countries. Each country maintains a National Central Bureau (NCB), staffed by
 Americas                       national law enforcement officers. It forms the link with INTERPOL's global network, enabling member countries to work together on cross-
                                border investigations. NCBs are increasingly involved in shaping the Organization's direction.

 Asia & South Pacific
                                        From A to F                From G to L               From MtoR                  From StoZ

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                                     Armenia I Aruba I Australia I Austria I Azerbaijan



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                                     Herzegovina I Botswana I Brazil I British Virgin Islands (UK) I Brunei I Bulgaria I Burkina-Faso I Burundi



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                                D


                                     Denmark I Djibouti I Dominica I Dominican Republic



                                E



                                     Ecuador I Egypt I El Salvador I Equatorial Guinea I Eritrea I Estonia I Ethiopia



                                 F


                                     Fiji I Finland I Former Yugoslav Republic of Macedonia I France



                                 G


                                     Gabon I Gambia I Georgia I Germany I Ghana I Gibraltar (UK) I Greece I Grenada I Guatemala I Guinea I Guinea Bissau I Guyana



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                     Jamaica I Japan I Jordan



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                 M



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                     Grenadines I Sudan I Suriname I Swaziland I Sweden I Switzerland I Syria



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EXHIBIT 20
     TREATIES AND OTHER INTERNATIONAL ACTS SERIES 13046




MUTUAL LEGAL ASSISTANCE




                   Treaty Between the
                   UNITED STATES OF AMERICA
                   and the RUSSIAN FEDERATION




                   Signed at Moscow June 17, 1999

                   with

                   Related Notes
NOTE BY TI-IE DEPARTMENT OF STATE

  Pursuant to Public Law 89--497, approved July 8, 1966
(80 Stat. 271; 1 U.S.C. 113)-

" ... the Treaties and Other International Acts Series issued
under the authority of the Secretary of State shall be competent
 evidence ... of the treaties, international agreements other than
treaties, and proclamations by the President of such treaties and
international agreements other than treaties, as the case may be,
therein contained, in all the courts of law and equity and of maritime
jurisdiction, and in all the tribunals and public offices of the
United States, and of the several States, without any further proof
or authentication thereof."
        RUSSIAN FEDERATION

            Mutual Legal Assistance

Treary signed at Moscow June 17, 1999;
Transmitted by the President ef the United States efAmerica
      to the Senate February 10, 2000 (Treary Doc. 106-22,
      106'h Congress, 2d Session);
Reportedjavorab!J by the Senate Committee on Foreign Relations
      December 12, 2001 (Senate Executive Report No. 10 7-3,
      10 l'h Congress, 1st Session);
Advice and consent to ratification by the Senate
      December 19, 2001;
Ratified by the President January 18, 2002;
Ratified by the Russian Federation November 3, 2000;
Ratifications exchanged at Washington January 31, 2002;
Entered into force January 31, 2002.
With related notes.
                   TREATY BETWEEN
             THE UNIT.ED STATES OF AMERICA
                           AND
                THE RUSSIAN FEDERATION
                           ON
      MUTUAL LEGAL ASSISTANCE IN CRIMINAL MATTERS




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             The United States of America and tbe Russian Federation (hereinafter referred to as
        "tbe Parties"),

             Striving to broaden and deepen American-Ruaian cooperation to prevent and fight
        agaimt crime, and                               ·

             Raflirming their determination to enhance lepJ Uliltance in criminal matten,

             Have agreed • follOWB:
                                                    -.2-

r:                                             ARTICLEl

~!                                      GENERAL PROVISIONS
L
ii:i   1.    The Parties ahaU provide to each other, in accordance with this Treaty,
l ' comprehensive mutual legal ..mtance in c:rimiDal matten.
~
•i'
   2.   For the plllpOllet or tbis Treaty, legal auiltance in criminal matten ahaU mean uy
   u1istuce provided by the Parties in connection with: prevention, nppreslion, and
11 invclltiption or crime1; criminal pl"Olecutiom; and other proceedinp related to mch
.I criminal matten.
I,,~
tl     3.   Legal uabtance 1haD be provided in accordance with the provisiom of this Treaty
tI where the conduct that u the object or the request comtitut:es a crime under the 1aw1 or
t:     both PIU"tiel. The Requested Party may, in itJ clilc:rction, mo provide legal U1iltance
!f where the conduct that is the object or the request would not comtitute a crime under                .~ i'
l~     the laWI of the Requested Party.                                                                 tt
;.,
                                                                                                        d
!! 4.
:[

          Thil Treaty is intended 10lely for cooperation and lepl auiltance between the
  [ PIU°tiel. The pnMDODI of this Treaty lball DOt give rile to a right OD the part of any other
                                                                                                        ~
                                                                                                        ~ ;
                                                                                                        d
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  t pcnom to obtJlin evidence, to have evidence exdaded, or to impede the eecution or a
  [ requm.
 I
  I


.t S.        For parpo1e1 of this Treaty, the term "penoa" 1haD mean both individuab and                II
                                                                                                        •I
                                                                                                        j;
       lepl entitles in the followin1 articles: Article 1(4), Article 2(4), Article 5(3) mbparagraphl
       1-5, Article 10(1), Article l.C, ud Article 15(1).
III
                                                                                                            i
                                               ARTICLE1
                                                                                                        I[
                                   SCOPE OF LEGAL ASSISTANCE
                                                                                                        '1
       Legal u1iltance under this Treaty sb.aD include:
                                                                                                        !1
                                                                                                            f

            (1)     obtaining testimony and m.temeats;
                                                                                                            lI
            (2)     providing docmnents, records, and other items;

            (3)     erring documents;
                                                                                                            I
            (4)     lecating and ideatifyiag per1om and items;                                              I
            (5)     executing requestl for leal'Ches ud 1Cizurc1;

            (6)     tramf'erring pcnom in cutody for testimony or other purposes under this
                    Treaty;

            (7)     locating ud immobDizing aaetl for purpo1e1 or forfeiture, reltitution, or
                    collection or fins; and

            (I)     providing uy other legal aaailtaace not prohibited by the lawl or the
                    Requested Party.
                                       ARTICLE3

                   CENTRAL AUTHORITIES AND PROCEDURES
                          FOR COMMUNICATIONS

1.    Each Party lhall implement the provilions ofthil Treaty. including the making and
receiving of requests, through its Centnl Authority.

2..  For the United States of America, the Central Authority 1ball be the Attorney
Gmenl or penom dmignated by the Attorney General. For the Rmlian Federation. the
Central Authority shall be the Office of the Procnnttor General of the RDDian Federation
or penons designated by the Procurator General.

3.    The Central Authorities shall commnnicate directly with one another for the
purposes of thil Treaty and may agree upon such practical measures u may be necessary
to facilitate the implementation oftbil Treaty.


                                       ARTICLE4

                          DENIAL OF LEGAL ASSISTANCE

1.   'The Central Authority of the Requested Party may deny legal assistance if:

     (1)    the request relates to a crime nnder military law that is not a crime under
            general criminal law;

     (2)    the encution of the request would prejudice the 11CC11rity or other e11e11tial
            interests of the Requested Party; or

     (3)    the request does not conform to the requirements of this Treaty.

2.    The Requested Party shall not decline secution of a request on the ground of bank
secrecy.

3.    Before denying legal anistance punuant to paragraph l of this Article, the Centnl
Authority of the Requested Party shall coDSUlt with the Central Authority of the
Requesting Party to consider whctlaer legal assistance can be givca subject to such
conditiom as It deems neceaary. If the Requesting Party accepts legal assistance subject
to these conditions, it shaD comply with the conditions.

4.   If the Central Authority of the Requested Party denies legal usiltance, it 1ha0
inform the Central Authority of the Requesting Party of the reasons for the denial
                                                                                               ..
                                             +                                                 i'.


                                        ARTICLES

                        FORM AND CONTENTS OF REQUESTS
                            FOR LEGAL ASSISTANCE

1.    A request for lepl aaistance shall be in writing. but in urgent situations the Ceutral
Authority of the Requested Party may accept a request in another form. If the request is
not in writing, the request iball be confirmed in writing witbiu. ten days of its receipt by   ;.'
the Requested Party unlen the Central Authority of the Requested Party agrees
otbcnrile.

     The request shall include:

     (1)     the identity of the authority on whose behalf the request is made;

     (2)     a description of the faets and circumlltallces of the cue;

     (3)     the text of the law onder which the conduct comtitutes a crime;

     (4)     a description of the lepl usiltance sought; and

     (5)     a statement of the purpose for which the legal uliltuce ii sought.

     To the extent neccll&IJ' and poaible, a request lhaD aho include:

     (1)     information on the identity and nupected location of a penon to be located;

     (2)     informauon on the identity and loca~n of a penon to be len"ed, that
             person' 1 relationship to the proceeding. and the maDDer in which senrice is to
             be made;

     (3)     information on the identity and location of a penon from whom evidence is
             sought;

     ( 4)    a lilt or quatiom to be uked or a penon identified in the request;

     (5)     a precise description of the place or penon to be searched and of the item to
             be seized;

     (6)     a description of procedures for the a:ccution of the request;

     (7)     information u to the allowances and es;pemes to which a penon uked to
             appear in the territory of the Requesting Party will be entitled; and

     (8)     any other information that may be brought to the attention of the Central
             Authority of the Requested Party to facilitate the execution of the request.

4.   The request shall be prepared and signed in accordance with the regnlatiom of the
     Requesting Party.
                                       ARTICLE6

                                       LANGUAGE
      Except u otherwise qreed by the Central Allthoritiel of the Parties, requests for
legal aaistance and documentl attached thereto shall be accompanied by a translation
into the language or the Requested Party.


                                       ARTICLE7

                              EXECUTION OF REQUESTS

1.    The Central Authority or the Requested Party shall promptly eucute the request or
shall tran1mit it to the authority havinl jurisdiction to do so. The competeDt authorities
of the Requested Party shall do everything in their power to execute the request in a
timely 11W111er.                                                        ·

2.  The Central Authority of the Requested Party 1hllll represent tbe interesll or the
Requesting Party in executiug the request.

3.   Requests shill be executed in accordance with the laws of the Requested Party
except if this Treaty provides otherwise. The competent authorities or the Requested
Party shall have the authority to is1ue nbpoeau, aearch warrantl, or other orden
nec:euary for the execution or requelb. Except if prohibited by ill laws, the Requested
Party shall follow procedures 1pecified in the request.                                       :,;
                                                                                              '.,.
                                                                                                ~

4.    If the Central Authority of the Requested Party comiden that euc:ution of a             ,,
                                                                                              I,
request will interfere with a criminal inveltigation, criminal pro1ecution, or proceeding
related to a crimiDal matter ongoing in that State, it IDll1 postpone execution, or make
execution mbject to conditions determined to be necaury after comultatiom with the
Central Authority of the Requesting Party. If the Requesting Party accepts the legal
ulistance subject to these conditiom, it lhaU comply with the conditions.

5.    The Requested Party Uall u1e its best efforts to keep confidential a request and its
contents if 10 requested by the Central Authority of the Requesting Party. If e:recution of
the request would require a breach of this confidentiality, the Central Authority or the
Requested Party 1hall so inform the Ceutral Authority ofthe Requesting Party, which
shall then determine whether the requeat should be eecuted under 1ucb circumstances.

6.   The Centnl Authority of the Requested Party shill respond to inquiriea by the
Central Authority of the Requesting Party concerning progress toward execution of the
request.

7.    Upon request of the Central Authority of the Requestiq Party, the Central
Authority of the Requested Party shllll furnish information in advance about the date and
place of the eecution of a request. During the execution of a request, the Requested
Party shall permit the presence of 1uch penom u are iipedfied therein.

I. · The Central Authority of the Requested Party shill promptly inform the Central
Authority of the Requesting Party of the outcome of the execution of the request. If the
requelt ii not aecuted, or if aecution is delayed or poltponed, the Central Authority or
                                                                                              :~
the Requested Party shall inform the Central Authority of the Requesting Party of the
reuom for non-execution, delay, or postponement.


                                        ARTICLES
                                                                                                      I
                                           COSTS
                                                                                                'i
                                                                                                  r
l.    The Requested Party lhaD pay aD costs relating to the execution of the request,
except that the Requesting Party lhail pay for the fees of experts, the costs of translation,
interpn:tation, and tnJuc:ription, and the aDowances and expenses related to travel of
penon1 punuant to Artida 11and12 ofthil Treaty.
                                                                                                ii
                                                                                                ~i
2.   If it becomes apparent that the execution or the request reqoirel expemes of an
extraordinary nature, the Central Authorities of the Parties shall comolt to determine the
terms and conditiom u11der which the requested legal ulliltance can be provided.


                                        ARTICLE!I

                             LIMITATIONS ON USE
                    OF THE RESULTS OF EXECUTED REQUESTS

1.   The Centnl Authority of the Requested Party may require that the Requesting
Party not use the results of the execution of a request obtained onder this Treaty for          ,,"
porpoaes other than those described in the request without the prior coment of the
Central Authority of the Requested Party. In such cues, the Requesting Party shall
comply with such limitations on me of the results of the executed request.

2.    Nothing in this Article shall preclude the me or disdomre of the results of an
executed request to the extent that there is an obligation to do so under the Constitution      ;!

of the Requesting Party in a criminal prosecution. 1be Central Authority of the
Requesting Party shall notify the Central Authority of the Requested Party in advance of
any such possible or proposed use or dilclosore.                                                ,,'
                                                                                                '
                                                                                                I·


3.   The results of an executed request that have been med for the purpose for which            !~
they were provided and, in the coune of mch use, have been made public in the                   I'

                                                                                                ~ i
Requesting Party in accordance with this Treaty may thereafter be med for any porpoae.


                                        ARTICLE IO

                    OBTAINING TESTIMONY AND EVIDENCE IN
                           THE REQUESTED PARTY                                                  t.i
                                                                                                :1·
                                                                                                !)
1.     A penon requested to testify and produce documents, records, or items in the
Requested Party shall be IUDllDOned, if neceuary by 1nbpoena or order, to appear and
testify and produce such documents, records, or items, in accordance with the
requirements of the Jaw of the Requested Party.                                                 ::
                                                                                                ·;
2.   In accordance with procedures med in the Requested Party, penom present at the
execution of a request llhail be permitted to pose questiom directly or to formulate



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 ti
 '•
',,. t queltiom that shall be posed to the penon beiDc questioned, and to make a verbatim
 i ! tramcript oftbe proceeding ming, ifneceaary, technic.-I means.


!ln,i    3.    If the penon referred to in paragraph l of this Article uRl"tl a claim of immunity,
         incapacity, or privilege under the laWI of the Requesting Party, the evidence lhall
         noaetbelcu be taken and the claim made known to the Requesting Party for resolution by
u
•I
         the authorities oftbe Requesting Party.

r•ift'
 ~!                                             ARTICLEU
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"ti
qt,                                    OBTAINING TESTIMONY IN
If                                      THE REQUESTING PARTY
it
t   ~
~r       l.    When the Requesting Party requests the appearance of a penon in its territory' the
ii Requested Party lhall invite the penon to appear before the appropriate authority in the
il Requesting Party. The Requesting Party shall indicate the meat to which the apemes
    I and aDowancea will be paid. The Central Authority or the. Requested Party shall
    ~ promptly inform the Central Authority of the Requesting Party of the respoase of the
    ! person. A penon who agreea to appear may uk that the Requesting Party advance
    / money to cover these ei:penas. This advance may be provided through the Embassy or a
    [ consulate of the Requesting Party.

' f 2.        A penoa appearing in the Requesting Party punaant to this Article shall not be
!! subject to llel'Vice of process, or be detained or nbjected to any restriction of penonal
[ ! liberty, by reason or any adl or convictions that preceded the person's departure from
!r the Requested Party. If such guarantee cannot be provided for any reuon, the Centnl
 .l[l!   Authority of the Requesting Party 1hall indicate this in the requeat in order to inform the
         invited peraon and to aDow that penon to decide whether to appear taking these

![I I

    3.
         circumstances into account.

         The ufe conduct provided for by this Article shall ceue aeven days after the
f I Central Authority of the Requeating Party hu notif'ied the Central Authority of the
I Requested Party that the pcnon's presence ii no longer required, or if the penon hu left
    the Requesting Party and voluntuiJy returned te it. The Central Authority of the
    Requesting Party may, in its dilcretion, mend this period up to fifteen days if it
    determines that there ii good came to do so.


                                               ARTICLEll

                                        TRANSFER OF PERSONS
                                               JN CUSTODY

         1.    A person in the custody of either Party whose presence in the other Party ii 1ought
         for purposes of legal assistance under this Treaty shall be transferred from .the sending
         Party to the receiving Party for that pnrpose if the person comentl and if the Central
         Authorities of both Parties agree.
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!·       2.   For the plllp08CS of tbia Article:
t·
              (1)    the receiving Party 1baD have the authority and the obligation to keep the
                     penon tramferred·in custody nnleu otherwise authorized by the sending
                                                                                                       •i
                     Party;
                                                                                                       l'f'
              (2)    the rec:eiving Party 1haO return the penon tramferred to the custody of the
                     sending Party u IOOD u circunutanca permit or u othenrile agreed by
                     both Centnl Authoritie1;
                                                                                                       ;.;
                                                                                                       ii


              (3)    the rec:eiviDg Party 1ball not require the sending Party to initiate eDradition
                     proceedinp for tile return of the penon tramferred;
                                                                                                       ,.!i.r
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              (4)    the penon tralllferred shall receive credit for 1errice of the 1entence imposed   ti
                                                                                                       l'l
                                                                                                       !.
                     in the sending Party for time served in the cmtody of the receiving Party;
,.
                     and
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~    !

ii:~          (5)    where the 1e11tmce imposed expires, or where the sending Party advilel the
 lF                  receiving Party that the transferred penon ii no longer required to be held in
1'
,:                   CDltody, that penon lhaO be treated u a person invited punoant to Article
1l                   11 or returned to the 1ending Party.
u
:'!                                                AR11CLE 13
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H                               PRODUCTION OF OFFICIAL RECORDS
1:
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tr 1.         Upon request, the Requl!lfed Party 1ba0 provide the Requelting Party with copies
         of publicly available records, including documentJ or information of any nature and in
If       any form in the poaeaion of an executive, legislative, or judicial authority in the
         Requested Party.
ff
f f l.    The Requl!lted Party may provide copies of any records, induding documents or
f ! information of any nature and in any form that are in the pos1eaion of an executive,
  ! legillative, or judicial authority in that Party, but that are not publicly available, bnt only
! ! to the nme extent and -der the nme conditiom u such records would be available to
, [ the competent authorities of that Party. The Requl!lted Party may in itl dilcretion deny a
l i' request punuant to thil paragraph entirely or in part.         ·
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t:                                                 AR11CLE14
f!
I·'.
I·
I·'                              LOCATION OR IDENTIFICA110N OF
~                                     PERSONS AND ITEMS
1:
'! ,  If the Reque1ting Party iieeks the location or identity of persons or information
  about items in the Requelted Party, the Requested Party 1ba0 me itJ best effortJ to
, eucute the request.
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                                        ARTICLE15

                                SER.VICE OF DOCUMENTS

1.  'lbe Requested Party sbaD use its best efforts to efl'ect service of documents
parmant to a request.
                                                                                                  !;
2.   The Requesting Party 1ba0 transmit any request for the 1enrice of a documeut                 .i
requiring the appearance of a person before a competent authority in the Requesting
Party a reuonable time before the scheduled appearance.

3.  'lbe Requested Party 1ba0 return to the Requesting Party a proof of service in the
manner specified in the Rquest.


                                        ARTICLE16                                                 I~
                                                                                                  H
                                  SEARCH AND SEIZURE                                              :r11
                                                                                                  It
                                                                                                  ·r
1.    Tbe Requested Party 1haD euc:ute a request for the search, seizure, and tramfer of
any item to the Requesting Party if the request includes the information justifying such
action under the laws of the Requested Party.
                                                                                                  fl
                                                                                                  p
2.    IC requested, evr:ry official of the Requested Party who hu had custody of a seized
item shall certify the identity of the item, the continuity of its cmtody, and the integrity of   ti
its conditioL                                                                                     i'
3.   The Requested Party may require that the Requesting Party agree to the terms and             fl
conditiom deemed necessary to protect third party interests in the item to be transferred.        i[
                                                                                                  !.t
                                        ARTICLE17                                                 IIII
                                                                                                  I'
                       TRANSFER OF DOCUMENTS, RECORDS,
                                                                                                  rr
                              AND OTHER ITEMS

1.    When a request for legal assistance concerns the transfer of documents or records,
the Requested Party shall tnmfer true copies thereof, unleu the Requesting Party
espreuly requests the originals, in which cue the Requested Party shall make every
effort to comply with the request.

2.    Insofar u not prohibited by its laws, the Requested Party shall transfer documents,
records, or other itenu in such manner or accompanied by such certification u may be              ,,,,
requested by the Requesting Party in order to make them admilrible according to the law           ;:
of the Requesting Party. For this purpose, the Central Authorities of the Parties shall
exchange information punuant to Article 3(3) with respect to the requirements for                 ii,,
                                                                                                  i:
admissibility in their respective legal systems. Documents, records, and other items
                                                                                                  :;
transferred u requested under this pantgraph sbaD Rqoire no further certification to
make them admi•ible.                                                                              ~i
                                                                                                  it
                                                                                                  '.!
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 3.   The Central Authority of the Requened Party may require that the Central
 Authority or tbe Requesting Party return, u aoou u pouible, any documents, records, or
                            m
 other itellll familhed to it a:ecatiou   or.
                                            request under tbia Treaty.
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                                        AR.nCLE 11                                             r
                                                                                               !
                                                                                               I.
                        PROCEEDS AND JNSTRUMENTALITIES
                                   OFCRIME

 1.    The Parties, ill accordance witll their lawl, 1hall auilt each other in locating,
 immobilizing, and seizing proceeds, indudiag earainp from, or that are the remit or,
 criminal activitiel, u well u instrumentalities of crime, for the plllpDle of: forfeiture;
 reatitutiou to vidillll of crime; and coDectiou of fin• imposed punuant ta jadicial
 dedsiou in criminal matten.

 2.    Ir the Central Authority or one Party becomes aware that proceeds and                   it'
 imtnuneutalitiel or crime that may be nbject to forfeiture are located in the territory or
 the other Party, it may so inform the Central Authority or the other Party so that the        tf
 other Party may take appropriate meuure1 under paragraph 3 or tbia Article. The               I.'I
 Central Authority receiving the information 1ball notify the Central Authority providing      lI
 the information or the action taken.

 3. · The Party that bu immobilized, seized, or forfeited the proceeds and
                                                                                               l
                                                                                               r
 initromentalitiel of crime lhaD dilpole or them in accordance with ita laws. That Party
 1hall tramf'er all or part of nch aaeta, or the proceeds of their sale, ta the other Party,
 including for the parpme or forfeiture and rettitation (which includes returning them to
 the rightful owner) imofar u permitted by its laws and to the extent it deems it
 appropriate and witbiD the time frame and under the conditiom it deems acceptable.


                                         ARTICLE19

                                      CONSULTATION

     The Central Authorities shall comult, at times mutually agreed to by them, to
 promote the most effective me oftbil Treaty.


                                         ARTICLE20

                                 SCOPE OF APPLICATION

       Thia Treaty 1ball apply to any requestl pre11ented after itl entry inta force even if
 the relevant actl or omiaion1 occnrred before that date.




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                                     AR.TICLE21

                    OTHER LEGAL BASES FOR COOPERATION

     The provisiom in this Treaty 1ball not prevent either of tbe Parties from
cooperating and from granting legal aaistance io accordance with tbe provisions of other
applicable international treaties and agreementl, national laws, and practices.


                                     AR.TICLE22

                     ENTRY INTO FORCE AND TERMINATION

L   This Treaty 1ball be mbject to ratification, and 1ball enter into force upon the
acbange of the imtnuneutl of ratification, wbicb lball take place u soon u possible.

2.   Upon entry into force of this Treaty, the Agreement between the Government of tbe
United Stats of America and tbe Government of tbe Ruuian Federation on Cooperation
io Criminal Matten, signed OD June 30, 1995, 1ball DO longer be in force.

3.   Either Party may terminate this Treaty by means of written notice to tbe other
Party through the diplomatic channel. Termination 1ball take effect sh months following    [I
the date of receipt of mcb notification.                                                   t
      DONE at ~ , this                  I~"""-- day of .J~ 1999, in duplicate,
                                                                     ,                     t
in tbe Englilh and Ruuian laftguages, both tan being equally authentic.

FOR THE UNITED STATES OF AMERICA:
                                        EMBASSY OF THE
                                UNITED STATES OF AMERICA



LES/063                                             Moscow, June 17, 1999



Excellency:

       I have the honor to refer to the treaty between the United States of

America and the Russian Federation on Mutual Legal Assistance in

Criminal Matters (the "Treaty",) signed on this date.

       In connection with the treaty,   my government notes that during its
negotiation the United States delegation agreed to delete from Article 4(1)

its proposal for the indusion of an express reference to a •political offense•

exception among the bases for denial of assistance under the treaty. In

so doing, the United States took into account the view of the Russian

delegation that the tenn "political offense• is not used in Russian law and

that Article 4(1) (2) of the treaty provided an adequate basis upon which to

deny assistance requests in cases the United States would consider

•political offenses: Article 4(1) (2) permits each party to deny assistance

if the execution of the request would prejudice the "security or other

essential interests• Of the requested   party. I hereby confirm that it is the

view of the United States that Artide 4(1) (2) is sufficient to meet the




His Excellency

       Igor Ivanov,

              Minister of Foreign Affairs,

                      The Russian Federation.
                                    -2-




concerns of the United States in this area, and the United States will

implement the treaty accordingly.

      Accept, Excellency, the renewed assurances of my highest

consideration.
                               DEPARTMENT OF STATE
                              OFFICE OF LANGUAGE SERVICES
                                      (Translation Division)

                                                                       LS No.        0992972
                                                                                     JS/
                                                                                     Russian


His Excellency
J. Collins
Ambassador Bxtr11ordinary and Plenipotentiary
of the United S1Btcs of America
in the Russian Fedcmtion
Moscow


No. 3729/dsa.

                                                               Moscow, September 22, 1999

Your ExceJlency:

       I have the honor to con.finn receipt of your note no. LES/063 of June 17, 1999,
concerning the Treaty between the United Stat~ of Ammca and the Russian Federation on
Mutual Legal Assistance in Criminal Matters signed on June 17, 1999, which [note] reads ns
follows:

       [The Russiun translation of the aforesaid note corresponds in all substantive respects to
the text of the English original, with the folloWing exception;

       English: ... is sufficient to meet the conccms of the United States in this area...
       Russiari [translated]: •.. is sufficient grounds for concern in this area... ]


       I have the honor to report that the Russian side shares the understanding in regard to .
Article 4(1 )(2) set forth in the above-mentioned note.

        Please accept. Your Excellency. the assurances of my highest coniiideration.

                                                               [s] A. Avdeyev


                          /Stamp of the RF Ministry ofForcign Affairai'
                                DEPARTMENT OF STATE
                               OFFICE OF LANGUAGE SERVICES
                                     (TranaJation Division)

                                                                        LS No.        1000193
                                                                                      JS/
                                                                                      Russian


MINISTRY OF FOREIGN AFFAIRS
OF THB RUSSIAN FEDERATION


No. 4289/dsa


       The Ministey of Foreign Affairs of the Russian Fedara.tion preacuts its compllinents to the
EmJ.ssy of the United States of America and, referring to its note no. 3729 of Septrmbcr 22,
1999, concmring paragraph 1(2) of Article 4 of the Treaty between 1he Ru8Sian Fcdaation and
the United S1Btes of America on Cooperation in Criminal Law Matters. has the honor to request
that the final 8CDtcnce in the first paragraph on the second page of the aforesaid note ICBd as
follows: "I hereby confirm that, from the viewpoint of the United States, piragraph 1(2) of
Article 4 is sufficient to meet 1he concern in this area, and that the United S1atc8 will apply this
Treaty accmdingly."

       The Ministry avails itself of this opportµnity to renew to the Embassy 1hc assurances of
its high oonsidmation.



                                                               Moscow
                                                               Oek>ber20, 1999
                           /Stamp of the MFA oftbe Russian Federation/


To 1hc Fmhusy of the United States of America
Moscow
                                               ,zi;orOBOP
                ME2K)(Y CO.E,ZJ;HHEHllLIM IIITATAMH AMEPHKH H
             P0CCKBCICO:A lfJE,I(EP A I l0 EA 0 B3AHMH0:0 DP ABOBO:A
                     IIOMO~ no YTOJIOBHLIM ,ZJ;E'JIAM
                                                                                                               l!
           Coe~eHHhle             Iil'raTbI    A.MepHKH         H       Pocce:Hcxu     <l>e,ll,epau;IDI,   B
     .nam.ueAmeM HMegyeMh!e CropoHaMli,                                    !
         crpeMJICb x pacmnpe1:1.wo H yrny6JICHBlO aMepHialHo-poccHH:CICoro                                     I
     oorp)'llHH'lecma no npe,nynpexmCHHIO npecrymmcm :e 5opL6e c Heit H t
     IlOATBepJK.D:WI      CBOIO    peIIIHMOCTb        COBepIIICHCTBOBaTI.        OK83aHHe       rrpa.BOBOtt    t
                                                                                                               !
!    IIOMOIIUI no      yro.noBHLIM ,D;e.naM,                                                                   l
r           cor.naCHJIHCL 0    HIDKecrre,zcyrom;eu:                                                            I
I!                                                    CfATLHl                                                  '
                                                                                                               1
 i
                                         0.6ID;l!IE IIOJIOlEEHRll                                              I
                                                                                                               I
                                                                                                                 1

I!
,           l.     CropoHLI   OICaJhlB8.IOT
     ,D;orOBOpOM BcecropoHHIOIO
                                                .z:wyr ,z:wyry
                                              B38HMH)'l0
                                                                    B   cooTBCTCTBHH      c
                                                           npaBOByro DOMOIII;b no yrOJIOBHhlM
                                                                                              Hacroa~M          I
                                                                                                                l
i    .ZJ;eJia.M.                                                                                                t
\           2.     ~ ~eJieit
                         HBCTOmIJ;ero ,D;oroBopa no.u: npaBOBOH DOMOIIU>IO no
I yroJIOBHhIM .ZJ;erraM noHHMaercll mo6WI noMOII{L, OIC83LIBa.CMWl CropoHaMH B                                  t
                                                                                                                I
Ii
l CBDH c npe.n;ynpeE,IJ;eBHeM, npece'leBHeM, paccm;D,oBaHH:eM npecryruremili H

II
     yro.nOBHLIM         n:pecm~n;oBaHHeM,
     OTHOIIICHHe IC TalCHM yrDJIOBHbIM ,IJ,enaM..
                                                  a    TRIOKC       c    npOH3BO,ll,CTBOM,      HMC10lll,HM
                                                                                                                    .!~
            3.     Ilpa.BOBBJI IlOMOIIlb OK83ldB&eTC'1 B COOTBeTCTBHH:                c   DOJJOlKCHIDIMH        I
     Hncroxmero ,lloroBopa, CCJIH ,D,emme, B CBDH c ICOTopi.IM noc::rymm 3anpoc,                                    i
     5lB..IDleTC'1   npecrynneHHeM        no     laICOHO,D,a.Tem.CTBy  o6cux   CTopoH. i
     3anpa.IIIHBaeMU CTopoHa MO:irer no CBOCMy YCMOTJ)CHHIO 0Ka3RTL npaBOByro                                       i
     llOMOIIJ;b TilIOKC B cnyqae, ecn::e: ,ii;enme, B CBSOH c KOTOPLIM nocrymm 3anpoc, ~
     He DIDieTCJI npecryIIJICHHeM no ee 38ICOHO,ll,aTCJILcrny.


     UeJICit
            4. HacroJIIIUrli ,lloroaop Hanpaa.neH HClC.JIIOtJHTCJILHO Ha ,ll,OC'IH)l(CHHe
                   COTpy,ll;HK'iCCTBa   H     B38.HMHOH     nOMOIIlH         CropOH.
                                                                                          t



                                                                                              IloJIO)l(eHWI
                                                                                                                I!
     HRCT0'1lll;Cl'"O ,D;oroBopa Be BC;Dj'T K B03HHKHOBCBBIO                y IC8lCOHX-.llH50   HHhIX JDUJ; \
     npaBa    noJI)"laTh ,ll,OKa3aTC.llbCTBa, ,ll,05HB8.ThCJI HCICJIIO'ICHIDI TeX KlIH HHhlX '
     ,ll,OK33aTeJILCTB JIH50 nperur:rcnsoBaTb HCDOJIHCHHIO 3anpoca.
            5. ~ ~eneA Hacrom:a;ero ,D;oronopa
     ¢lH3H"lecKKX, TIU\'. H IOpH,ll,H'ICCICHX
                                                                TepMHH "JIHUa" 03Ha'laCT KaIC
                                                                                             (


                                                  JIBD., B IlyHKTe 4 BaCTOmue.H CTaTbH, a 11UOICC
                                                                                                                    I
                                                                                                                    II
                                                                                                                     I
                                                                                                                     I
                                                                                                                     l
                                                                                                                     !
                                                        2
        B IlO)l;IJYHirre 4 CTaThH 2, IlOAII)'HKI'8X 1-5 nyHICTa 3 CT8.TbH 5, nymrre 1 CTaThH
        IO, cran.e 14 H nymrre 2 cran.H 15.

                                                    CTATL1l2

                                      OE'LEM IIPABOBO:A IlOMOIIJ;H

              Ilp8.BOB8JI    IlOMOIIU>      B   COOTBCTCTBHH     c   IlOJIOXC:eHIDIMH   HaCTonn;ero
        ,l).oroBopa BlCJilO'l&er:
              l) ilo.n:yqeime noxa3aueit H 38JIBJiemm;
              2) npe,I(OcraBJieHHe ,Zl;OK)'MeHTOB, WlTepHaJJ.OB H ,D;pyrHX np~CTOB;
              3) BPY'leHHe ,ZJ;OicyMeBTOB;
              4) yCTaHOBJieHHe MecTOHUO)JC,ZJ;ewm H HJJ:eIITHcpmcau;mo mm; H np~eroB;
              5) HCITOJilleHHe 3anpoCOB 0 rrpoBe.zi;emm 061oICKOB H BbleMoK;
I
 f            6) nepe,naqy ~. co.nepxcanµrxc11 no,ZJ; crpuceB:, ~ ,na"IH noxa3amnl HJIH
:Ii JUDI .n;pynn ucnc:H, npe,zzycMOTpemn.rx HaCTO.HJ.IXHM ,[(oroBopoM;
         7) YC'l'8.HOBJieBHe MecTOH8XOE.ZleHH11 H apecr HM)'IIl;ecr:Ba c Qem.10 ero
~I xoHcpHac~, B03MeIIJ;emi11: YJI{ep6a ·e B3HMaHIDI mrpacpoB;
11       8) mo6yio HHYJO np8.BOBYJO IlOMOID;b, He 3anpem;CBHyio 38KOHaMH
I       3anpa.JIIKB8.CMOH CTOpOHld.
l

I                                                   CTATIJl3

                      JlEH'l'PA.JlbHLIE OPrAHLI H IlOPSJ,L(OK CHOIIIEHIDl

!   t
              I. Kuc.nu CropoHa ocYJI{ecTBll11eT pea.lIH3WUOO nono:acemrli Hacromi;ero
        .l(oroBopa,     BKJIIO'iaJI   HanpaBJieHHe H nonyqemte 3anpocoB, 'lepe:J CBOH
,1 Uempa.rn.Hb!H opra.H.
ti            2. UeHTp8Jil>HLIM opT'8HoM             )VI1I   Coe.n;miemn.IX illTilTOB AMepHKH
1I      11BIDleTC11   Mmmcrp        IOC'IHWIH HJIH H83Ha'ICHRbIC HM JIHD;a. ~CHTpanbHhlM
I       opra.HOM                       <l>e,zi;epar(HH .mJIJICTC11 re11epam.Hax npoxypaT}'pa
                      ,IOill Pocc:HiiCKOH
        Poccdcxollt       cl>e.nepaUHH rum Ha3Ha'leHHI>Ie f eHepam.HLIM npoxypopoM
        PoccHii:CKOH <l>e,nepa.mm mm:a.
            3. Uee:rpam.Hb1e opT'8Hbl B :a;enxx BblIIO.JIHCHH11 Hacro11ID;ero ,lJ.oroBopa
        CHOCJITCSI .zq>yr c .n;pyrOM uenocpe,nCTBeHBO H MOryT corJiaCOBbIBaTI. MCJICllY
        co6o:if: npaICTH1IecICHe Mepi.1, ueo6xo~MLie ,IJ;lIJI 06ner1eHH11 B1omoJIHCH1111
        Hacroxm;cro ,ZJ;oro:aopa.




        ..   ··--····-----
                                                 3

                                             CTATh.H4

                 OTKA3 B OKA3AHHH IIPABOB0:9 IIOMO:mH

     1. il;eHTpam.m.ra opraH 3anpamHBaeM08 CTopom.1 MO:>KeT                      OTKaJan B
OKa:nunm npaBOBOii IJOMOlllH B CJl)"iae, eCJIH:
     1)   3anpoc     KacaeTCll       npecrynn:eIDUJ,     npe.zcycMo"Ipemmro       BoeHm.rM
33.ICOHO,nRTeJibCTBOM,       KOTOpoe          He     .HB.IDICTCll     npecryrmeHHeM          no
o6m;eyroJIOBHOMY np8.11y;
    2) HCIIOJIHeHHe 3anpoca HaHec.JIO 61>1 ym;ep6 6C30118CHOCTH HJm HHbIM
cym;ecraCHHbIM HHTCpecaM 3anpamHBaeMo:H Cropom.r; :wm
    3) 3anpoc He coOTBeTCrBYeT "Ipe60BaHIDIM HaCToJIID;ero ,n:oroBopa:
    2. 3anpame:saeMWI CTopoHa He )J;OJDKHa OTK83:&man. B HCDOJIHemrn
3anpOca no OCHOBaHIDIM Heo6XO,ll;HMOCTH coxpaHeHWI 6amcoBCKOH TaHHbl.
    3.   il;eHTpa.m.m.m opraH JanpamHBaeMo:H CTOpom.1 TI.O BbllleceHWI
pemeHIDI 06 OTICaJe B OK8.3aHHH npaBOBOB DOMOIIUi Ha OCHOBaHHH nymcra I
Hacro~eB.   CTIITbH IlpOBO,D;RT KOHcyJibTIUlHH c U:CHTpaJILHl.IM opraB.OM
3anpalUHB810m;eA CTopoHb1 .zom paccMOTpeHH.11 Bonpoca o TOM, MO>Ker IDt
rrpaBOBaJl llOM.Om;:D   6:&1Tb   OIC8.3aHa npH   co6.mo.z:i;emm TeX   YCJIOBHH, KOTOpbie OH
c'IHTS.er Heo6XOlJ;HMbIMH.           ECJIB   lanpannmaIOm;u CropoHa npHHHMaer
rrpaBOBYJO 110Mom;:& Ha TBICHX yCJIOBIDIX, oaa .IJ;oJDKHa co6mo.IJ;an 3TH yCJIOBIDI.
     4. Bene: ll;empam.m.m opraH JanpannmaeMo:H CTopoHDI OTIC83bIBaer B
01C8.38.HHH npaBOBOH IlOMOm;H, OH mupopMHpyer ll;empam.HblH opra.H
3anp8IIIHBaiom;eii Cropom.1 o rrpH1mHax QTl(83a.

                                             CTAT.bJl5

     tl»OPMA H CO,llEP)KABBE 3AIIPOCA 0 IIPABOBOA TIOMOII(B

     I.   3anpoc 0      llpaBOBOH DOMOID;H HaIIpa.BJilleTCJI B IlHCLMCHHOH              <l>opMe,
O.z:i;H8.KO npH Ha.JIH1llm qpC3BM"la:illn.Ix o6crmrrem.CTB            IJ;empa.m.m.lli    opra.H
3anp8IIIHB8CMOH CropOHbI M0'11:er npHIDITL 3anp0C B HBOA !)>opMe.                  Ecne
3anpOC Hanpa.BJ1J1erc.11: He B IIHCbMeBHOM BB.AC, OH .U:OJDICCH 6h1Tb 110,n;raep:ll\'.,D;eH
IIHCLMeBHO B Tet:JCHHe ,D;ecsrm:          TI.HCH co ,D;Hll IIOJIY'iCHIDI 3anpoca
3anpannmaeMoA          CropOHOii,     ecJIH    TOJILKO     :Qempam.HLIH:        opra.H
3anpannmaeMoH Cropom.1 He npHMer ,II,pyroro pemeHHJI.
     2. · 3arrpoc BKJIIO'IaCT:                                                                     !l
     I) Ha3Ba.HHe opraHa, OT HMCHH xoroporo H8IIPa.BJIJ[CTCll Janpoc;                              It
    2) H3.TIOJICCBlie !parros H o6crmrrem.CTB .ri;ena;                                              I
    3) Te.KCT 3aKOHa, Ha oCHoBamm ICOToporo                           TI.emme   npH3HaeTCSI        I!
npecryJJJieHHeM;                                                                                        t
                                                                                                   1
                                                                                                   l'1~
                                                                                                   If
                                                                                                   l!
                                                                                                   H
                                                                                                   ti:1
                                                                                                   '.   ~
         4) on:e.caHHe 3anpannmaeMOH IlOMOIUK;                                                                      •'   ~



         5) yxa.38.HHe nen:e:, .zom KOTOpoA 3anpamHBaercR IIOMOIUL.                                                      ;


         3. B     ro:H Mepe, B xaxo:H 3TO Heo6xo.D;HMo                    :e   B03MOJICHO, 3anpoc Ta.IOICe
     CO,D;ep3CBT:
          1) ,Zl;S.HHLie       0     .llFIHOCTH        H       npe.n;no.rraraeMOM       MCCTOHRXOJK,Uemrn
, pa.3bICKHBaeMoro .JIHD;a;
'        2)    .D:aH.HltIC     0     Jlll'IHOCTH       H            ~a. KOTOpOM}'
                                                               MecTOHBXOlKJleHHH
: aeo6xO.D:HMO         BP)"IHTh                   CBDH 3TOro JIHIJ;a c npOBO.D:HMJ>IM
                                       .D:OIC}'MCBT,       o
: pa36HpaTCJibCTBOM H nop.H,ZlICe BpyqeHIDI ,D;OK}'MeHTa;
.      3). BHIJ?opManm<> 0 JlH'lllOCTH H MecI'OHBXOlK,lleHHB n:m:i;a, OT KOToporo
'. Heo6XO,ll,HMO IlO.JIY'IBTb ,ZJ;OKa38Te.Jil.CTBa;
'.     4) rrepeqem, BOilpOCOB, KOTOpbIC Tpe6yercll 3a,!l;RTI> mmy, o6o3HatlCHHOM}'
~    B 3anpoce;
f      5) TOl:JHOC OIIHcaHBC MecTa HJIH .mm;a, IIO.D:JIC:acamHX 06blCICy' H np~era.
t rro,Wie:a:a:m;ero BbleMKe;
~      6) OnBC8.HBC IIOpJI,IJ;K3. HCilOJllieHIDI 3anpoca;
j        7) BH4'0pMa.nmo 0           BbIIIJraTaX H B03M~CHHB pacxo,D;OB, Ha I<OTOpbIC 6y.n;er
! HMeTL npaBO ~o. BldlbIBaeMoe Ha Teppirropmo 3an:pllIIIHB810ID:eH CropoHbr;
:        8)   mo6ym          HHYIO    HH4'opMa.IzyDO, KOTOpaR MOZCT                    6i.m.   .n;oBe,neHa   .n.o
~ CBe,nemDI U:empa.m.aoro opra.Ha 3anpanm:aaeMoA CTopoHbI                                 .zom   o6nerr:i:emu
~: HCIIO.DBCHHll 3anpoca.
f     4. 3anpoc oq,opMJlJ.leTCll H IlO,ZJlIHCbmaeTc:SI B COOT'.BCTCTBHH C IIpSBH.JiaMH,
~ ycraBoB.neHHbIMH B 3anpam:HBaIODJ:cli Cropoae.
'!
!                                                      CTAThB:6
l
;
f
I
!        3anpoc       H      npu.rraraeMbIC        K       HCMY     .D:OK)'MellT'hI,    HaIIp8.BJIJICMbIC      B
r COOTBeTCTBHH c HacTOlllll;HM ,D.orOBOpOM, conpOBOX\,ZJ;ElIOT<:R nepeBO,Il;OM Ha
!'13blKC      3anpanmBaeMOH CropOHhl, ecJIH Meaozy l(eH'!'pa.JihHhIMH opraHaMH
i CropoH HC 6y.D;CT .D;OCTHillyra .o;oroBopeHHOCTb 06 HHOM.
                                                       CTAThB:7

                                        BCTIOJIHEHBE3AIIPOCA




     ----------
                                           s
        2. Ueirrpam.Hbm opra.a JanpannmaeMoli CTopOHbI npe,nCTaB.IDler
, .11:HTCpeci.1 3anpamHBaIOIJJ:eH CTopoHbl npH HcnoJIHemm 3anpoca.
        3. 3anpoc RCilOJI.HJieTCJI B COOTBeTCTBKH c 33.ICOHO,!UlTem.CTBOM
'. 3anpaIIIHBaeMO:A      Cropom,1, ecJIH HHOC He npe.zzycMOTpCHO HaCTOJIIJJ:HM
[,lJ.oroBopoM. KoMIIereHTHD1e opram.I 3anpamHBaeMoa CTopoHLI HMeIOT
i rrpaBo BpY'faTb nonecTKH, Bbuuman. op)lepa Ha 06i.1CJC H ,Dpyrae op,a:epa,
i Heo6xo,D;KMJ.1e ,D;JDI HCilOJIHeHIDI Janpoca.       3anpaIIIHBaeMrur CTOpoHa
i HCilOJIWleT 3anpOC B COOTBercTBHB C YJCa.38.HHhIMH B HCM Tpe60BaHWIMH, CCJIH             !i
f:no He 3anpCIJJ:CHO ee 3aKOHO~TCJihCTBOM.
f       4. ECJIH QCH.Tpam.m.m opraH 3anp8.IIIHBaeMoa CTopoHJ.1 c'IHTaer, 1:1To
tHcnom1eliHe 38.llPOca noMemaer ocymeCTBJD1eMOMY B ero rocy)lapCTBe
~ paCCJie,I{OBaHBIO      npecryIIJieHIDI,  yroJIOBHOMY    npecne,llOBa.mno·· HlIH
l  npoH3BO,D;CTBY' OTHOcna;eM)'CX K KaICOMY-JIH6o yrOJIOBHOM}' .n;erry' OH MO)J(CT          f i

!  oTJIOllCHTh HCilOJllleHHe 3anpoca HJIH CBJOan ero HcnoJIHeHBe c co6mo,n;eHHeM           It
l yCJioBd, npB3Hamn.IX Heo6xo.D;HMLIMH nocne KOHCYJIJ.~ c Ueirrpa.m.m.1M                   i:
t opra.HOM 3anpammuuoIJJ:eii Cropom.1. EcJm 3anpam:HBaIOIJJ:U CTOpoHa                      Ii
t npHHHMaer noMo:m;i. Ha TaXHX yCJIOBIDIX, OHa ,ri;o.JDJCHa co6mo.n.aTh 3TH                ~f
 ; yCJIOBHll.                                                                              ,_';· f·
  f      5. 3anpamHBaeMu CropoHa ,ri;CJiaer Bee OT Hee 3aBHcxw;ee ,!VUl
 [ o6ecneqeHHJI JCOHcpH,D;eHrUf8JIJ.BOCI'H 3anpoca H ero co,nepJKaHWI npH HaJIH'iHH        f~
 [ npoc.6J.I 06 3TOM Uem:pam.Horo opnma 3anpa.IIIHB8.IOm;eif CropoHJ.1. Ec.nH              !~
l   coxpaHeBHe xompH,D;eune:am.HOCTH npH HcnoJIHemm 3anpoca HeBOJMO)IQ{O,                  11
 1UeHTPam.Hl>m opra.H 3anpanamaeMoii CTopoHbI HH1)>0pMHpyer 06 3TOM                        ::
  i UeHTPam.m.IB opra.H 3anpannm8.IOm;eH CTopoHhl, ICOTopldii pemaer, cne.zzyer            ~;
  i JIH Hcno.lilDITh 3anpoc npH TIUCHX o6cro.srreJIJ.cr:Bax.                              11
 t       6. UeHIJ>am.m.IH opraH 3anpannmaeMo:H CTopoHl>I no npocb6e                        ~    !
 i IJ,eBTpam.Horo op:nm.a 3anp8.IIIHBa.IOIJJ:e:A Cropom.1 HHcpopMHpyer ero o xo.n;e       ''
i.-
    e:cnoJilleHWC 3anpoca.                                                                ii
                                                                                          t~
 :       7. no 3anpocy I..J.eHTpam.Horo OpraHa JanpamHISaIOIJJ:eH CropOHbl                      .
!   UeHJ"Pam.Hl>m       opraH     3anp8IIIHBaeMoii      Cropom.1   3a6na:roupeMeHHO       I[
 ~ npe,nOCTSBJDieT HH<l>OPM~ 0 ,rutTC H MeCTe HCIIOnHeHHJI 3anpoca..                      it
l 3annRTTTUllaeMax CropoBa .n;onyCICaeT npH HCilOJJHCHHB 3anpoca npHCyrcT.BHe             "'
 .    -·y-                                                                                ~ :'t·.
 t YJC83aHHldX    B HCM .IIHII;.
 f       8. I..J.eirrpam.m.m oprae: lanpannmaeMo:H CTopoHbl He:JaMe,r.onrrCJlbHo          i·
~   1m<t>opMHpyeT U:eirrpaJIJ.Hl>IH       opraH    3anpa.mHBmomeii      CropoHi.1     o   f [•
'. pe3YJIJ.'11tT8X HCilOJIHeHIDI 3anpoca.. ECJIB 3anpoc He 6i.IJI HCilOJilleH JIH6o ero   [I
f HCilOJIBCHHe 6l>IJIO 38,ll;epllCaHO HJIH OTCpO'iCBO, I..J.eHTp8.JlbBbIB opraa           \f
~ 3anpaunmaeM:o:A                                                                         [!
I
                             Cropom.1     HH!l>opMHpyer      Uempa.m.Hhlii
    3anpamKBmoIJJ:e:A CropoHid 0 npH'mHS.X HeHCilOJIHeHIDI 3anpoca mroo ero
f 3aJJ;epXCICH HJlH OTCpO'lfiCH.
                                                                                 opraH
                                                                                          !l
                                                                                          I>
r                                                                                         n
[                                                                                         ti
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                                                    CTATbS:8

·:                                                 PACXOJJPI
;;
tt        l.   3anpannmaeMaJI CropoHa HeceT Bee paCXO,II;l>I, CBJOaHHl>Ie c
•I
; , HcnOJIHeHHCM 3anpoca, Ja HCICJII011e1111eM Toro, 1IT0 3anpanmBaIOmlUI
n   Cropmra HecCT paCXO,IJ;hl IIO OII.ITaTe ycrryr 3KCIIepTOB, IIHCl>MCHHOro H YCTHOrO : :
d   nepeao.u;a H npOTOKOJIHPOB8HIDI, a TIUOKe pacxo,u;oB H BLIIIJiaT, CBJOaHHbIX c
i ! Il0e3.D;K8MH mm; B COOTBercTBHH co craTLJIMH 11 H 12 HaCTOJIIIJ;ero ,lJ.orOBOpa.
~[        2. Ec:rm CTaHOBHTCll O'iCBH,IJ;Hl>IM, 'ITO HCilOJIHeHHe 3anpoca nOTpe6yer
n         qpe3Bbf'laimLI:x       pacxo,noB,     UCHTpaJILHLIC        opram.1      CropoH      IIpOBOAfi
ii KOHcym.TS.qHH B nenn onpe,neneHJUI: YCJIOBHH, B COOTBCTCTBHH c KOT-OPLIMH                                t'
j; MOJKeT 6LITL OKa3aHa COOTBeTCTB:yIOIIlaJI IlOMOm;L.
,•
H
H                                                   CTAT.b.Jl9
tr

i!
ff                 OrPAHHq11:eeJIHAHmOJIL30BAHHEPE3YJILTATOB
                                      HCDOJI B 11:0 0 SI 3AilPOCA                                           l:
f~      1. Il;eHTpaJILHLIH opra.H 3anpannmaeMOH CropoHLI MOlKer noTpe60B8Tb . '
t~ OT 38IIJUUilllB8IOI!leH CTOpOHLI,      lf!'06LI OHa He HCDOJIL30B8.llll 6C3 . i
!~ npe,D;BapHTCJILHoro cor.JI8.CIDI IJ;eirrpam.Horo opra.ea 3anp8.IIIHBaeMo:H ;                                 !
!~ CTopoHLI pe3YJILTaTbl HCUOJIHCHIDI 3anpoca, IIOJIY'leHHblC B COOTBeTCT.BHH c ' <
I~ HRCTOJllllHM ,lloroBopoM., B HHLIX D;eJDIX, 'ICM re, xorophle 6LIJIH )'KaJaHLI B
~ ! 3anpoce. B T8KBX CJIY'iWIX 3anpammuuom;u CTopoHa co6mo,naer )'KaJa.HHLie                                ~;
i [ orp8.HH':ICHIDI Ha HCIIOJih30B8HHC pe3yJibTaTOB HCllOJIHCHIDI 3anpoca.
n 2. Hl£oITo B HaCTO.lllll;eB CTaTLe Be HCKJJIO'laer HCIIOJn.30BaHIDI                                HJIB   '
Hpa:JrJIBII1emm              peJym>raroB        HcnoJIHemm       lanpoca,        eCJIH   KOHC'llIT)'IUfeB   :;
if        33IIp8.IIIHBaIOID;eH CropOHLI npe,nyCMOTpelfO o6JOaTCJILCTBO c.nerraTL 3TO B ; '
If xo.ne yroJIOBHoro npecne.zi;oB3HRJI. ll;eKrpam.HLm opra.H 3anpaunmaromeii : .,

IH!!      CropoHLI 3apaHee YBe.D:OMJDler 3anpaunmaeM)'IO CropoH)' o TaKOM, '.:
          B03MO>EHOM mm npe,zi;crom:i;eM HCDOJILJOBBHHH HJIH paJrJiamemm.
              3. PeJym.TaTLI HCDOIIHeHWI 3anpoca, HCIIOJILJOBamn.1e B yxaJamn.rx B
!~        HCM   o;emx   H npH 3TOM       o6Hapo,zi;oBaHHJ.1e     B   3anpammuuomeA Cropoae s ; ,
   t COOTBeTCTBHH            c   HaCTOJDI~lIM    ,ll;orOBOpOM,       MOryr   B    ,ll;aJILHemneM   6LITb    ;:


I
H
   f HCIIOJlb30BaHLI B JII06:&IX :a;CJIJIX.
   f
                                                                                                            l:
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   tr'.                                                                                                     !i.,
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                                                       7
                                                  CTAThHlO

                      Il0JIY11EBHE IlOKA3.A110ll HA TE.PPHTOPHlf
                            3AIIPAillHBAEMOO: CTOPOHLI

     I.            OT KOTOporo TPe6YeTC.ll .n;a'la ITOKa3aHHH, npe.n;CTaBJieHHe
              Jl.m:J:o,
.n:oicyMeBTOB,.    3armcea JIH6o npe.ZJ;MeroB, B 3anpwmmaeMoB: CTopoHe
BbObJBaercr, np:e: Heo6xo,ZU1MoCTH, nosecnco:H HJIH pacnopXlKeHHeM .AJD1 j!BKB
H .na'IH ITOKa.3amlli, a TIUOKC .ZJ;Jlll npe,n:cnmJieHIDI T8ICHX .D;OK)'MCHTOB, 3arIHceH
JIH60 npe,n;MeTOB B COOTBeTCTBHH c TJ>e60B8.HHJlMB 3aKOHO.n;aTellbCTBa
3anp8.11IHBaeMo:H Cropom.L
      2. B cooTBeTCTBHH c npone,n:ypoH., npHMemieMoii B 3anpamHBaeMoli
CTopoae, JIHIJ;aM, npBCyTCI'BYJOIIlHM np:e: e:cnOJmemm 3anpoca, paJpemaercJ1
Henocpe,z:i;C'I'BeHHo    3a,n;a.Ban.     sonpoChl     onpaunmaeMOM)'        JIHU)'   wrn , .
cj>opM)'.JIDPOBaTb BOnpOCbI, KOTOpblC ,!l;OJDICHhI 6bl"Th eM}' 3a.n;BHbl, a Ta.KXCC i.
ocymecTBIDITb ,D;OCJIOBlcyIO 3a.IIHCb B XOJJ:C npOH3BOJJ:C'I'Ba nponeccyam.Horo ' '
,lleHCTBIDI, HCllOJn.3Y'1, npB H006XO,!l;HMOCTH, TCXH;H'ICCKHC cpe,n:CTBa.
      3. EcJm JIHIJ;O, ynoMllHYI'oe B nymcre I Hacrom:i:eii CTaTbH, 38JIBID!er o
CBOCM         HMM)'HHTCTC,        Hecnoco6HOCTH            HJIH   npHBHJienrn B   COOTBeTCTBHH   c
JaKOHOJJ:BTC.TILCTBOM  3anp8.IIIHBaIOID:eH CTopOHbI, noKa.38.HWI, TeM He MeHee,
6y.zzyr noll}"iem.r, a o ero 38JIBJICHHH 6y,ner coo6m;eao Janparmmaiomeif
CTopoHe ,Il)DI npHIDfl"Hl[ pemeHHS.1 ee KOMneTeHTH!.IM opra.HOM.

                                                  CTATl>Jlll

     TIO.Jn' q11:e Hit IlOKA3.AIIHR: B 3AIIPAllillBAIOil(EA CTOPOHE

     I. B CJI)"lae 38.npoca Janpa.nnmarom;e:H CTopoHhl o nxe xaxoro-JIH6o
JIHlla aa ee TeppHTopmo 3anpa.nnmaeMu CTopoaa npHrJiamaer JTO . JIH~o
SIBHTJ.C'1 B COOTBeTCTByiom;e::A KOMJiereHI'Hl.IB opra.H B 3anpaunmarorneli
Cropoae. 3anpa.rmmarom.u CTopoRa YJCa31.IBaer, B KBKOM o6"beMe Ta.KOMY ·'
.nm.zy 6y.IJYT       B03MentCBbI     pacxoJnt.I   H B:&J.,l(aHbI   noco6u. UempaJlhHhrii oprae       ~j
3anpa.nnmaeMoii Cropomr HeJa.Me,ll;JIHTCJibHO m11popMHpyer IJ.eHTpaJibHbtii. ' i
opraa 3anpannmaiom;eA CropoHbI 06 oTBere ,ZULHHOro JIBUa. JIHD:o, .n:asmee t[
corJiacHe :aa .mxy, Mo:arer o6paTIITLCll K 3anpa.IIIHBaIOm;eit CropoHe c : :
IIpOCb60i 0 BloI.na'!e aBa.Hca Ha ITOKp:DITHC JTHX pacxo,n;oB. 3TOT aBaHC MO:>KeT !                   !
6bITb npe,noCTaBJieH "Iepe3 ITOCOJlbCTBO H.lIH JCOHcyJibCTBO 3anp8.IIIHBaIOIJlCH
Cropom.1.
    2. JlHD;o1 .11BHBmeec:J1 Ra TeppHTOpmo 3anpannmBIOra:eif Cropom.1 B
COO'IBCTCTBHB             c RBCI'O.llIIl;ei cranei, Re M0'1teT 6J.1Tb DpHBJIC'leHO K yqacrmo B
IIpOD;eccya.JibHbIX .D:eHCTBIDIX JIH6o DOJJ;Beprnyn.cx 38,lleplltBHHIO           wm ICaKHM 61>1




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          -    --·--------- ----
TO HH 6LIJIO Orp8.HH11eHWIM JIH'IHOH CB060.D;DI no IIpH'IHHC K8.KHX-JIH60 .nexmrn -;
KlIH cpaxTOB Ocy11C,Il;CHIDI, HMCBIIIHX MecTO )l;O OT6I:.1TIDI JTOro .JIHIJ;a c
reppRTOpHH 3anpammsaCMoA CTopoHbI. EcnH Ta.Kax rapa.BTIDI He MO:iKer
61.I'I'b npe.n;ocrmmeHS. no KaICHM-.JIH6o npH'iHHaM, l.J,empam,m.rli opraH '· -
3anpam:HBaIOm;eA CTopom.1 yica:n.maer JTO B 3anpoce c .a;em.IO
rrpoHHrPoPMHpOBan. npHrJiarneHHoe .JIHUO H no3BoJIHTI:. eMY npmum,
pemeime 0 DKC c y<ICTOM .D:a.HBDIX o6cro'1TCJIDCT.B.
       3.    rapllHTIDI HeIIpHKOCHOBeHHOCTH, npCJJ:OCTilBJICHHWI Hacromneii
cran.eA, npeiq>am;aer ,n;eAcrsoBan. no npomecr.eHH ceMH ,n;11eli noCJie roro,
Ka.IC     UCHTpam.m.m        opraa    3anpannm8.IOmeli      Cropom,1   YBe.zi:oMHJI
UeirrpaJIDHI:.Iii oprae: 3anpam:HBaeMOH CTOpom.1 06 OTCyrcTBHH ncrrpe6Hocm
B ,D;a.JihHCHmCM npHcyrcrBHH JTOro .JIHUa JIH60 B TOM cnyqae, ecJIH JTO JilfilO
ITOICllHYJIO TeppHTopmo 3anpaIIIHB8.IOID;eA CropoHI:.1, a 3RTCM .no6pOBOJII:.HO
zy.na B03BpaTHJioci.. Uem:paJILHLm opraa 3anp8IIIHBaeMofi Cropom.1 Mo:xcer
no CBOCM}' ycMOTpCHBIO npo.zi;IIHTh 3TOT cpoK .no lllTHa,zmam .D;HeH, ecJIH OH
npH,I(eT IC BLIBOA}', 1iTO Ha 3TO CCTb ,ZlOCTaTO'IBLIC OCHOBaHIDI.

                                       CTATLH12



     1. .TIHqo, CO,D;eplK8ID;eeoi ITO,D; crpIDKe.fi B O,n;HOA H3 CTOpoH, 'ILC
npucyTCTBHe B .n;pyrou CTopoae 3anpamHBaCTCSI ,nJDI .a;eneii OKRJa.HIDI
npaBOBOH ITOMOm;H corJiaCHO HRCTOSDD;CMY J{oroBopy' nepe,na.CTCX B 3THX                  r.
U,eJUIX H3 HanpaBJDllOm;eit CTopOHLI B npHHHM8.IOm;yIO Cropouy npH HaJilflIHH            i;
corJiaCIDI noro ~ aa TilICYJO nepe,z:i;aqy, a TaIOKe npH BaJIH'mH corJiacmr              ~[
UeJiTPa.JILHDIX opraaoB o6CHX Cropoa.                                                    ~ ;.

     ~) ~m:!:°~~o=:1'~aBe                       H    ofooaHa co,n;ep:11CaTL nepe.nwmoe !:[
                                                                                       r.;
~o       no,D; crpaxceii,    ec.JIH   TOJILKO       HanpaB.lillIOm;eii CTOpOHOH He l f
llpCiJYCMOTpCHO HHoe;                                                                    [i
     2) npBHHMBIOIIUUl Cropoaa B03Bpam;acrr nepe.n:aHHoe .JIHqO B                        ;!
pacnopuceHHe Banp8BIDllOIIlCH CropoHLI, KBK TOJILICO 3TO IT03BOJDIT                      ": t
o6croJITeJILCTBa       JIH6o B COOTBCTCTBHH c HHOH .zi;oroBOpeHHOCThlO                   ii
Uempa.m.m.xx opraaoB Cropoa;                                                             11
     3) npHHHM8.IOmu CropoHa ae rpe6yer, no6i.1 HanpaBIDIIOID;aJI CTOpoaa                ,!
HHHilffHPOBSJia npoa:e.nypi.1 Bhl.Zla'IH ~ BOJBpan nepe,mumoro JIHD:a;                   :t
     4) nepBo,n; npe6LIBaHBJ1 nepe.n:BHHoro JIHD:a no.zi; C"I"paxeB: B npHHHM8.IOIIleH
CTopoBe 3acrmTLIBaercsi: B cpox oT6LITW1 HaIC33aHIDI, Ha3Ha11CHHoro
                                                                                         l:
                                                                                         ·
nepe,n;a.HHOMY mnzy B Haa:pa.B.lDIIOID;e.fi CTOpoHe;                                     ii
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             5)   B    CJIY'iae   HCTe'ICHIDI   cpOKa   OT6blTIDI   H3lCa38HWl   HJIH   Kor.n;a
         HanpBBIDIIOill:a.H   CTopoHa coo61Il1IT npmm:MaIOmeii CTOpoae, "CITO Her 6oJiee
    Heo6xo,ZJ;HMOCTII CO,Il;ep'1CaTb .z:i:amme JIHllO DO.ll CTpIDlCeA, c 3THM JIHUOM
i'' J:(OJDICHhl o6pamaTbCJI KaIC c JIHU.OM, IIpHrJiameHHhIM B COOTBCTCTBHH co
~ · cran.eii 11 Hacromnero .D;oroBopa, mi:6o JTO JIHllO .D;OJDKHO 6hlTb B03Bpameim
    Harrp8BJilllOm:eu Cropoae.

                                                CTATM113


~   '.
~•         1. 3anpamBBaeMaJI Cropmm npe,noCTilBJDler 3anpannmaiomeH: CropoHe ;
: f no ee 3anpocy KOIIHB o6me.nocrymn.IX ocpHl.lHaJibHhlX MRTepHaJIOB OpraHOB "
~; HCilOJIHHTeJILHOit,     38ICOHOAareJILHOH    H    cy.u:e6aoH BJl8CT.H, BKJIIO'IIDl
I!'" mupopMan;HIO H ,D;OK}'MeHI'bI mo6oro xapaxrepa H B mo6oii: $op Me, KOTopi.IMH
    i
~ pacnoJiaraIOT opra.Hld HCilOJIHHTCJibHOH, 3aKOHO,ZJ;RTCJII:.HOH H cy.z:r.e6HOH
,, • BJiaCTH 3anpa.nnmaeMo:H CropoHbI.
f!         2.   3anpa.nnmaeMu CTopoaa M0'1Cer npe,noCTaBHTb KODHH mo6i.rx .
l:   38IIHCeH H MRTepHaJIOB, BKJIIO'lrul HHcpOpM3.WfiO H .IJ:OKYMCHTDI JII06oro f
; ; xapaicrepa      H    B  JII060H ¢JopMe, KOTOpblMB paCDOJI&.ralOT opram.1 f
1: HCIIOJIHBTeJibHOH, 3aKOHO,IJ;aTCJibHOH H cy,ZI,e6Hoii Bll8CTH 3TOH CropOHbI, He f
~: JIBJilllOm:HCC$1 o6me.nocrynm.IMH; O.ZJ;HaICO TalCHC HB.cp0pM8.I.(WI H ,!l;OKYMCHTbl :
     MOryT npe,nocra:sIDITLCJI JIHIIlh B TOM OO'LCMe H Ha TCX yCJIOBHJIX, KaJCHe l
!'.  ,n:eikrBOBRJlll 61>1 B OTHOmeHHH .z:i:ocryna K HHM KOMDeI'CHTHbIX opraHOB
, : 3anpanm:BaeMoi CTopoHI>I.        3anpanm:BaeMWI CTopoaa MO)Ker no cBoeMy
t   l    YCMOTpCHHIO IIOJIBOCT.bIO HJIH rracnrmo OTKJIOHHTh          3anpoc, C)J;eJia.HHbIH Ha
,,~' ocaoBamm Hacromnero nyHI<Ta..
I~
if                                               CTAThH14
ti
H
n7
~
                           YCTAHOBJJf:U01t MECTOHAXO'K,n;EHHSI H
                           H,l(EH'l11fllBKAD;IDI .J.11111; H DPE,I(METOB
r;
t!


rr      ECJIH         3aIIpllIIIHBaIO~lUI
                              CTopoHa npocHT ycnuIOBHTh MCCTOHSXO)K)J.eHHe' f
r:  ~ HJIH e:n;eHTHcp~:san HX JIH6o npe):(OCTaBHTh C'Be,ZJ;CHIDI o npe,n;Merax,                   i
; f HaxO,D;mllHXCR B 3anpannmaeMoA CropoHe, TO 3anpannmaeMaJI Crnpoaa                             l
' ' npHHHMBCT Bee Heo6xO,D;HMbIC MepbI }:UU1 HCilOJIBCHHJI 3anpoca.
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;_                                           JO
                                         CTAThR15
                               BPY1IEHHE .lJ:OKYMEHTOB

         1. 3anpannmaeMWI CropoHa .zxe.naer Bee OT Hee 3a.BHcxm:ee wui BpY'feHHJI
 · ,O:OK)'MeHTOB B COOTBercTBHB C3anpOCOM.
        2. 3anpaIDKAArom;aJI CTOpoHa nepe,naer mo6oii 3anpoc o Bp)"iemm r:
   ,nOJ()'MeHTa., npe.eycMaTJ>HBa.IOm;ero mncy mma :s KOMIIereHTilbtil: opraB
   3anpannma.IOme.H CTopom.1, B pa3)'MHhie cpoKH .no Ha3Haqemroii .n;aT.i.1 SIBKH.
        3. 3anpamHBaeMu CTopoHa Hanpa.BJU[er 3anpannm3.10m;ee CTopoHe
   no,D;r.Bepllt,D;eHHe 0 Bpyqemm .D;OK)'MeHTOB B COOTBeTCTBHH c nopx,zi;KOM,
   YJC8..3amn.IM B 33.IIpOCe.                                                      ·'
                                                                                   h
                                         CTATLR16
                                    0:6MCK H BLIEMKA
                                                                                          r
           1. 3anpamBBaeMrui: CTopoHa Hcno.JIID1er 3anpoc o npoIOBo,n:CTBe 06i.1CKa : '
     mm BbieMICH, a Ta1ox.e o nepe.n;aqe KaI<Oro-JIH6o npe;J;Mera 3anpainHBaiomeii :. '
     CropoHe, ecJIH B 3anpoc BICJIIO'l:feHa HHlj>OpMaIIWI, o60CHOBhlBa!OlllruJ. 3TH I
     .ne:HCTBIDI B COOTBe:rcTBHH c 3aKOHO,llaTem.CTBOM 3anpaunmaeMo.H CTopom.1.
           2. KDC,lloe ,u;oJDKHoC'IBoe .mm;o 3anpaIIIHBaeMOH Cropom.1, Ha xpaaeHHH
     KOTOporo HBXO,l(HJIC'1 H3'b2.n.tii np~er. npH Hamrrnm npoci.6bl
     y.n;ocroBepller IlO,lllIHHHOCTb npe,ll,Me-ra,      ero HenpHKOCHOBCHHOCTb H
     HenpepbIBHOCTh xpa:aemm.
           3. 3anp81IIHBaeMu CropoHa MOEer noTpe6oBan y 3anpamHBaromeii
     Cropo:m.r co6mo,n;eHWI ycnosHii, K0Top1.1e npe,n;C'raBIDIIOTCJI aeo6xo)J;llMI.IMH
     ,n;mI 3am;HTI>I HHTepecoB TJ>eTbHX JIHl{ B oTHomemm n~B.BaeMoro npe,D;Mera.


                                         CTATbH17
                 IIEPE,n:A"llA .lJ:OKYMEHTOB, 3AIIllCEil H ,lI;PYnlX
                                    IIPE,l(METOB

            1. B CJIY1Iae, Kor~ 3anpoc o npaBOBo:H noMOIQH npe,n;noJiaraer nepe,n;atJ:y
     .n;oicyMeHTOB HJm 3arm:cdt, 3anpaIIIHBaeMIUI. CTOpoHa nepe,n:aer H8,JJ;Jle)KamHM
     o6pa3oM 3aBepeHBb1e xonHB noc.ne,z:omx, eCJIH lanpannmaromu CTopoea
     IIpJIM.O He noDJ)OCHT 0 nepe.zxa-qe OpHI1illaJIOB; B TaKOM CJI}"iae
     3anpaIIIHBaeMax CropoHa npHHHMaer Bee Mep1.1 Alill ucnoJIBeHHH 3anpoca.
           2.. IloCICo.m.xy 3TO He npOTHBOpetmT 33ICOHOAarem.CTBy 3anpannmaeMOH
     CropoHL1, oHa nepC):Uler ,D;OKyMCHTbl, JanHCH H .zq:>yrHe npe,n;Meri.1 B TaKOM
  . BH,Il;C :wm 3aBepeam.Ie T8KHM o6p830M, KOTOpbIX MO:XCeT IlO'rpe6oBan.
  .· 3anpa.mHBaIOIIµUI Cropmm c o:em.10 npH3Ha.HIDI TilKOBbIX ,norryCI'HM:DIMH
; } ,D;OIC83RTCJibCIBaMH B COOTBeTCTBHH c 3aKOHO)laTeJII.CTBOM 3anpaimmarom:e:H
', Cropom.1. B 3THX O:CJDIX Uem:pa.m.Hb1e opram..1 Cropoa o6MCHHBaIOTC.a: B
i ' COOTBercTBHB c rryHICrOM 3 CTaThH 3 HaCTomi:ero ,}J,oroBopa HHcpOpMauHeii,
 .: xacaiom:eAa roro, 1ITO . .SIBJI.lleTCll ,norryCTHMi.IMB ,noxa3a:rem.CIBa.MH cornacuo
[: npa»oBOH cHcreMe ICUOl:OH H3 Cropoe. ,}J,OJCYMeHTI.I, 38.IIHCH e ,zq:>yrae
t! npe,D;Men.I, nepe.zi;amn.1e cornacao 3anpocy' HRIIpBBJICHHOM)' B COOTBCTCTBHH c
!~ HaCTO~ nyHICTOM, He ~TCJI B ,naJI:DHCHmCM y,nOCTOBepCHHH
r'. IlO,D;.1.IHBHOCTH.
r'
l          3. UeHTpam.m.Ii opra.a 38.IIpamHBaeMOH Cropow.r MO)ICeT norpe{)oBan., ..
l ~ 1IT06w UeHTpam.m.m opra.H 3anpa.IIIHBBIOIIteH Cropom1, xax TO.Jib"l<O 3TO '
l  ! CT8BeT B03MO::aan.IM, B03BpaTHJI mo6we ,D;OJCYMCHThl,' 38IIHCH H J.J,pyre.e : ;
 f; npe,D;Men.x, npe.n;oCTimJICHHhle eM)' B xo.ne HCilOJIHemuI lanpoca, \.
!'. Hanpa.BJICHHOro B COOTBCTCTBHH c aacro.mnnc ,}J,oroBopOM.
I•
                                                                                         f.
                                                                                         ;,
1·
f                                       CTATL.JI18
li       BMYIQECI'BO, IlPB06PE'IEHHOE DPECTYIIHLIM IIYTEM, H                             ,..
I         .   OPY,Z:UUI COBEPIIIEHIDI IIPECTYII.JIEIIHa
                                                                                         !:
                                                                                         ,.
[;      1. CTOpOHbI B COOTBCTCTBHB CO CBOHM 3aJCOHO,D;aTeJII.CTBOM OICa3bmaIOT , .
i L;:q>yr ,zq:>yry noMOIIth B po31>1CKe, apecre H H3'b.llTIIH HM)'Dl:CCTBa, i':
I [npuo6pereHHoro npecrymn.IM nyreM, BICJIIO'IWI ,noxo,n:r,1 OT npecryIIHoli
tt.nexrem.aocm       HJIH JIBJillIOID;Hecg ee pC3ym.TaTOM, a TaJCxe opy.Il;HH
llcoBepmeHIDI npecryn.rreHHii c Qem.IO KOHcpHCICa.QHH, B03MCll(CHHJI Bpe.na
'I
[ tnOTepileBIDHM OT npeccynneim:H, a T8.IOKC B3bICKBHIDI nrrpacpoB, HaJI02CCHHblX
l (B COOTBCTCTBHH c llOcra.HOBJiemttMH cy;n;oB no yroJIOBHblM .uemw.
H 2. Ee.mi Uempam.HOM)' opra.e:y 01(HOH H3 CTopoH CTBJIO H3BCCTBO, "ITO
dHM)'ll(ec-rBO, npuo6peremme npecTylIHbIM rryreM, e op}Wnl coBepmeHHJI
! tnpecrynnemm, ICOTOpble MOryT 6LITb np~CTOM KOHcpHCKal(HB, HaxO)lJITCX                 f'
f,IHa TeppHTOPHH .zq:>yroi Cropom.1, OH MO:>ICeT HHcpOpMHpOBaTb lJ;CHTpaJI:DHbrH
f ~opnm ,npyroli CropoHhl c TCM, 'f!'06bl 3Ta CToposa Mor.rra npawm.                     :;
t_ 1HaAJie:atall(He Mephl B COOTBeTCTBHH c IlymcTOM 3 Hacromo:eii CI'aTbH.               t:
[fUempam.Hblll opnlB, nonyrmBIIIHii :rry BHtPOPMarnn<>, yse,noMJ:uieT                    1
                                                                                               •


Hll~am.m.i:H opnm, npe,nocra:sHBm:d HHtf>opM~, o npe,n;npHIDITbrx                        ,..
!. U(CHCTBH.!IX.                                                                         i!
H    3.. Cropoaa, KOTopwi: Ocyll(CCTBHJia apecr, H3'b.srme HJIB ICOH!f>BCICallmo
tiHMYIItecr.Ba, npuo6peremmro npecrynm.IM nyreM, H opy,z:i;eii COBepmeHHJI               r:
~ jnpCCT}'IIJiemm,   pacnopjl2CaeTCll HMB B COOTBeI'C'I".BHH co CBOHM
                                                                                         1.
~ t3axOHO,nRTellbCTBOM. 3Til CropoHa nep~ raxoe HM}'ll(CCTBO noJIHocn.10
                                                                                          i·1

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!~
           HJIH qaCTJiPmo, a TalOICe .noxo,m.1, nocrymmmHe OT ero !JPO.II:alKH, .z:i;pyro.H
           CTopoBe, B TOM "'IHClie ,ll;IDI nene:H ICOHtPHCIC~ H B03M~eHIUI: ~ep6a
           (BIOIIO'IWI BO:mpaT 3aICOHBbIM BJiaJlClll>D:aM), IlOCICOJil>ICY 3TO pa3pCIIlCHO ee •.
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': TalOB:C B TeX npe,o;en:ax BpeMemr H B COOTBeTCTBHH                    c   TCMH YCJIOBWIMH, ICa.ICHe
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         ocym;ec:rBJiemm CO'l'py,D;Blf'lecIBa H B OICa.3aHHH IlOMOIIJ;H cor.na.CHo t!
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' ll noJIO)ICeBIDIM   mu.IX   npHMCHHMblX       MCJIQJYHapo,nm,rx .norOBOpOB     H fi
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          2. IlpH BcryIIJiemm B CliJIY H8CTOHlll,erO ,n:oroBopa yrpa'iHBaer CH.JI)'
      CorrrameHHe MeiK.ZJY Ilpa:sHTeJibCTBOM Coe.n;1rneHHbIX lllntTOB AMepHKH u ..
      Ilpa1nrrem.CTB0M PoCCHaCKo.H <I>e,nepau,nH o          coTpymnPiecrae no yroJIOBHO-
      npaBOB:DIM Bonpoca.M, IIO,nmlCa.HHOe 30 HIOfill       1995 ro,na.
           3. Jho6wr H3 CTopoH MO:>Ker npexpaTHTh ,n:e:HCTBHe Hacronn,ero
      ,n:oroBopa nyreM HanpaBJieHIDI .npyroli CTopoae no ,n;mmoMaTHqecICHM
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      3K3CMIIIIllpax, l\S'JICWJi   Ha 3.HI"JIHBCKOM H   pyCCKOM DhIKax,   npHqeM o6a-TeJCCTa ~'
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                    Barne Ilpeeocxo.n,HTCJihCTBO,

              MMeJO qecTh TIO,D,TBep.n,HTh TionyqeHHe Bame:H HOThI

              N~ LES/063 oT     17 HJOH.H 1999 ro.n,a, Kaca10meifog ,[(oroBopa
              Me)J()J.y PoccHHCKOH <l>e.n.epa:u;He:H H Coe.n,HHeHHhIMH

              lllTaTaMH AMepHKH o B3aHMHOH TipaBOBOH TIOMOI:QH TIO

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              TIO yroJIOBHhIM .n.enaM (.n,aJiee «)J,orOBOp» ).



ErOIIPEBOCXO)J,MTEJThCTBY
rOCIIO)J,MHY L()K.KOJU111H3Y
lIPE3BhI"l!AHHOMY l1 IIOJIHOMOlffiOMY IIOCJIY
COE)UIBEHHbIX IIITATOB AMEPMKM
B POCCMHCKOH <l>E,JJ;EPA1(HM


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      B CBH3H c   ,z::(oroBopoM Moe IlpaBHTeJibCTBO OTMeqaeT,

qTo Bo BpeMH ero o6cy)l{)];eHHH ,l(eneraQHH Coe.l(HHeHHhIX

lllTaTOB cornacHJiaCb HCKJil{)qHTb H3 rryHKTa     1 CTaTbH 4 CBOe
Tipe.l(JIO)l(eHHe TIO BKJIIOqeHHIO crreQHaJibHOH CCbinKH Ha

«TIOJIHTHqecKHe TipeczyTIJieHHH» B KaqecTBe OCHOBaHHH ,l(JIH

OTKa3a B OKa3aHHH TipaBOBOH TIOMO:W:H TIO ,z::(oroBopy.

,z::(eiicTBYH TaKHM o6pa3oM, Coe.l(HHeHHhie IIITaThI

rrpHHHMaJIH BO BHHMaHHe TOqKY 3peHHH pOCCHHCKOH

,l(eJieraQHH OTHOCHTeJibHO Toro, qTo TepMHH «ITOJIHTHqecKHe

TipecTyIIJieHHH» He HCTIOJib3yeTCH B pocCHHCKOM

3aKOHO,D;aTeJibCTBe, H qTO rryHKT   1(2) CTaTbH 4 ,[(oroBopa
CO,D;ep)l(HT ,D;OCTaToqHo OCHOBaHHH ,D;JIH OTKa3a B HCilOJIHeHHH

3aTipOCOB 06 OKa3aHHH rrpaBOBOH TIOMO:W:H B cnyqaHX,

paccMaTpHBaeMhIX Coe,D;HHeHHhIMH lllTaTaMH B KaqecTBe

«TIOJIHTHqec~HX TipecTyTIJieHHH». IlyHKT    1 (2) CTaTbH 4
pa3pernaeT KIDK,D;OH H3 CTOpOH OTKa3aTb B OKa3aHHH

rrpaBOBOH TIOMO:W:H B cnyqae, ecJIH HCTIOJIHeHHe 3arrpoca

HaHeCJIO 6bl yrn;ep6 «6e30TiaCHOCTH HJIH HHbIM

cyIQeCTBeHHbIM HHTepecaM» 3aTiparnHBaeMoii CTopoHhI.

TeM caMhIM H rro.l(TBep)l{)];aK>, qTo c ToqKH 3peHHH

Coe,D;HHeHHl>IX lllTaToB, rryHKT   1 (2) cTaTbH 4 HBJIHeTcH
,D;OCTaToqHbIM OCHOBaHHeM ,D;JIH 03a6oqeHHOCTH B 3TOH

o6nacTH, H qTo Coe,D;HHeHHl>Ie lllTaThI 6y,D;yT

COOTBeTCTBYIOIQHM o6pa30M TipHMeHHTb ,D;aHHbIH ,lJ;oroBop.

      Eru;e pa3 TIPHMHTe, Barne IlpeBocxo,D;HTeJII>CTBO,

ysepeHffj{ B MoeM secI>Ma BhICOKOM ysa)l(eHHH.»
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      HMe10 qecTh coo6:rn;11Th, qTo Pocc11iicKas1 CTopoHa

p33,n:eIDieT IIOHMMaHMe OTHOCMTeJihHO nyHKTa    1(2) CTaThM 4
,lJ,orosopa, M3JIO)l(eHHOe B BhIIIIeyKa3aHHOH HOTe.

      IlpHMMTe, BaIIIe Ilpesocxo,n:11TeJ1hCTBo, ysepeHM51 B

MoeM sechMa BhICOKOM ysa)l(eHMM.
        N 4~~9 /DrA




                MHHHCTepcTBO HHocTpaHHbIX ,ll;en PoccRiicKoii

        <l>e;::i:epa[(HH CBH,D,eTeJibCTBYeT CBOe yaroKeHHe IlocOJibCTBY

        Coe,D,HHeHHbIX lIITaToB AMepRKH H, ccbmas.cch Ha CBOIO HOTY

        N!! 3729 OT 22 ceHT.sI6pJI c.r. OTHOCHTeJihHO nyHKTa 1 (2)
        cTaTbH 4 JJ:orosopa Me)l(,l()' PoccRiicKoii <l>e;::i:epa1v1eii H

        Coe,n,HHeHHbIMH llITaTaMH AMepHKH o B3aHMHOH npaBoBoii

        IlOMOI.[(H no yronoBHbIM ,n,enaM, HMeeT qecTb npOCHTb lJHTaTb

        nocne,n,Hee npe,D,JIO)l(eHHe nepBoro a63a:ua BTopoii crpaHHU:bI

        ynoM.sittyTOH HOTbl cne.z:zyiom;HM o6pa30M: «TeM caMbIM .sI

        no,n,Taep)l(,D,aro, tJTO, c ToqKH 3peHH.sI Coe;::i:1:1tteHHbIX lIITaToa,

        nyHKT   l (2) CTaTbH 4 .sIBJI.sieTC.sI )l;OCTaTO"l!HbIM ,D,JI.sI CH.SITH.SI
        03a6oqeHHOCTH B 3TOH o6nacTH H qTo Coe;::i:11tteHHb1e lIITaTbI

        6yJJYf COOTBeTCTByIOII.J;HM o6pa30M npHMeH.SITb ,n,aHHblH

        ,ll;oroaop».



      IIOCOJThCTBY
COE~HHbIX IIITATOB AMEPI1KM



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      MHHHCTepcTBO nonh3YeTCR CJiyciaeM, qT061>1

B0300HOBHTh IloconhCTBY ysepeHIDI B CBOeM BhICOKOM

ysaJKeHHH.
EXHIBIT 21
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        CIN
        From:         SPO                                                              Sent: Wed 9/15/2010 2:39 P
        To:           CID
        Cc:
        Subject:                (410-775-9446-5) Schtotzsky's Deli (Cont'd/Request for !OD)
                                                                                                 Ct54k_.
                             U. S. SECRST SERVICE INVESTIGATIVE REPORT

        FROM:      SPOKANE RESIDENT OFFICE                              FILE:       410-775-9446-S
        TO         CRIMINAL INVESTIGATIVE DIVISION                     X-REF:       202-768-22869-S
        INFO:      ISO                                               SEIZURE:       NIA
                   SEATTLE FIELD OFFICE
                   DAYTON RESIDENT OFFICE
                   COLUMBUS RESIDENT OFFICE
                   MOSCOW RESIDENT OFFICE
                   CINCINNATI FIELD OFFICE

       SUBJECT:       REPORT OF CONTINUING INVESTIGATION/REQUEST FOR !OD
                                                                                                                  :   :
       ACTUAL LOSS:         $146,199.64                 POTENTIAL LOSS:            $TED

       CASE TITLE:                   SCHLOTZSKY'S DELI
                                                                                                    - c.:'
       CASE TYPE:                    775.300 (NETWORK INTRUSION - Private)                         --
                                                                                                    )   ..I
       SECONDARY TYPES:              848.910; 848.920; 848.930; 770.100
       CONTROLLING OFFICE:           S?OKANE RESIDENT OFFICE
       REPORT MADE BY:               CASE SA JAMES BRANHAM (509) 353-2532
       DATE CASE OPENED:             5/13/10
       PREVIOUS REPORT:              OPENING REPORT - 6/8/10
       REPORTING PERIOD:             6/9/10 - 9/13/10
       STATUS:                       CONTINUED

       SYNOPSIS:

       Schlotzsky's Deli in Coeur d'Alene, ID, has been identified as the point of
       compromise for credit card fraud utilizing accounts belonging to people living in
       the Pacific Northwest.

       The fraudulent activity occurred both domestically and foreign with an updated
       known fraud loss of $146,199.

       Investigation continues into identifying the potential source of the breach and a
       possible vendor selling the credit card dumps. The possible vendor has been
       identified as a result of an ongoing case in the Cincinnati Field Office (FO).

       The United States Attorney's Office (USAO), District of Idaho, has been briefed on
       the case and has agreed to open a case for the issuance of court orders and Grand
       Jury subpoenas to further the investigation and for possible prosecution in the
       District of Idaho.

       Case continued pending further investigation.

       DETAILS OF INVESTIGATION:

       Reference is made to the previous report in this case, dated 9/10/10, written by
       RAIC David Deetz, Moscow RO, responding to an Investigation Other District (IOD)
       request.


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     Reference is made to the Report of IOD, dated 7/30/10, written by SA Mike
     McClelland, Columbus RO.

     Reference is made to the Memorandum Report, dated 7/20/10, written by SA Kevin
     Dye, Cincinnati FO, regarding the cross referencing of this case with an
     investigation being conducted by the Cincinnati FO.

     Reference is made to the multiple communications between the Spokane RO the
     Criminal Investigative Division (CID), Moscow RO and the Seattle FO concerning
     this investigation.

     This case originated in the field with a duty call, on 5/5/10, from Fiserv who
     advised Schlotzsky's Deli in Coeur d'Alene, IO had been identified as the point of
     compromise in ongoing credit card fraud.

     On 5/21/10, Task Force Officer (TFO) Detective Dave Dunn, ECTF Seattle FO,
     provided me with a copy of his forensic analysis of the Point of Sale Systems
     (POS) for Schlotzsky's.  In summary, TFO Dunn found the process Kameo.exe running
     on the POS system and it was attempting to contact IP address 188.120.225.66.
     Through his forensic analysis TFO Dunn concluded the ~ameo.exe was placed on the
     POS system on 4/1/10 at approximately 7:33am. Also through analysis TFO Dunn was
     able to determine the true name of the Kameo.exe process was "keywordsniffer.exe."

     A hard copy of this report has been retained in the o:fice case file.

     On 7/14/10, I was contacted by SA Kevin Dye, Cincinnati FO, concerning the state
     arrests of individuals who were purchasing items using s~olen credit card
     numbers.  SA Dye advised he had contacted the issuing banks on four (4) credit
     card numbers recovered during his investigation and they were compromised at
     Schlotzsky's Deli.  SA Dye advised they recovered a laptop computer and a credit
     card encoder during the arrest.

     On 7/20/10, RAIC David Deetz, Moscow RO, reported the Russian Federal Security
     Service (FSB) was continuing to provide assistance in this case but requested
     additional information concerning the IP address resolving back to Russia.
     On 7/28/10, TFO Dunn received a preliminary copy of the forensic report completed
     by the Cincinnati FO relating to the aforementioned case.   TFO Dunn provided the
     following information related to this report:
     On 07/28/2010, I received the preliminary forensic report from the USSS CIN
     office.  In reviewing that report, there were two files that appeared to be unique
     in the way that they were named.  Those files were, "order---3186. txt" and "order-
     --3187. txt" These appeared to be an automated naming convention that may have come
     from an online credit card dumps vendor.
       I contacted SA Ron Smalley at CIS regarding the riaming of these files and asked
     i f there were any known online vendors who were using this format. SA Smalley
     researched this for me and advised that there was a vendor, who goes by the online
     nickname of "Track2" and he uses this naming convention.

     On 8/4/10, I obtained a copy of the forensic analysis report completed by
     SecurityMetrics Inc from Schlotzsky's owner Steve Cord.  Mr. Cord was required by
     VISA to have the independent forensic audit completed per his merchant agreement
     with VISA. A copy of the forensic report will be retained in the case file.

     On 8/16/10, RAIC David Deetz, Moscow RO, requested additional information in order
     to complete the IOD request.  The requested information was provided by TFO Dunn
     to RAIC Deetz in order to fulfill the request to the FSB.

     On 8/26/10, TFO Dunn received a copy of the imaged suspect drive in the Cincinnati



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 FO case.  After reviewing the imaged hard drive TFO Dunn provided the following
 analysis:

 On 0812612010 I began to conduct forensics on the drive from CIN. I spoke with SA
 Smalley at CIS who also provided me with the ICQ number for Track2, 554716101.

  In reviewing the drive image,         I located the two files,         "order---3186. txt" and
  "order---3187. txt", and saw that they had dates stamps of 06123110 at 0850 AM.

 I reviewed the internet history for this time frame to ascertain the origin for
 the dumps.  I found that the dumps were purchased from a website whose URL or
 address is www._b_ulba.cc:;. Just prior to going to the site, the CIN suspect was on
 the website, libertyresenre. com, most likely to fund his dump purchase.

 The final dump file also likely came from bulba.cc. I found that on June 19 and
 20, the suspect was talking about wanting to get his lr(Liberty Reserve) account
 straight so that he could deal with ''bulba". He then deals with a subject who will
 exchange western union wired money for liberty reserve currency and on 06/19/2010
 sends him $240 for conversion.

 In researching the website, bulba. cc, I found that, on 08/26/10,                   the site was
 hosted on a Ukranian webserver at IP address, 213.186.112.132. I                    checked to see
 what other sites were hosted at that IP address, and found that                    the other site
 hosted at that IP was, w~~_._t_£i3_cK.?.~.!Jal!le· I visited the sites and         found them to be
 identical, except for the colors used.

 On 9/9/10, I contacted the financial institutions that have previously been
 identified as the issuing bank on credit card numbers compromised in this case and
 requested updated fraud losses.  The following information was provided by
 affected institutions:



 On 9/14/10, I served Federal Grand Jury subpoenas on AOL/ICQ and Yahoo! for
 records related to this investigation.

 JUDICIAL ACTION:

 On 9/8/10, TFO Detective Dave Dunn, Seattle ECTF, RAIC Kevin Miller and I met with
 AUSA's Mike Mitchell and Nancy Cook, District of Idaho, and presented the facts of
 this case. AUSA Cook agreed to open a case and issue subpoenas for investigative
 leads.  AUSA Cook agreed to prosecution at the conclusion of the investigation if
 a suspect can be identified and apprehended.

 On 9/10/10, I e-mailed AUSA Cook requesting subpoenas for AOL/ICQ #554716101 and
 Yahoo! E-mail addresses l:'_l.lbel}§_~.!!]y~li_<::_h@y_a_h_QQ_.~Q!!!, )2ullJ..A~C~.Y2h.QQ.,._QQll!, and
 bandysli64@yahoo.com.

 On 9/14/10, I e-mailed AUSA Cook requesting a subpoena for Western Union documents
 related to the purchasing of credit card dumps by suspects in this case.

 On 9/14/10, Legal Assistant P.J. Foster, USAO, delivered the requested subpoenas
 for AOL and Yahoo!.

 SUSPECTS I DEFENDANTS:

 LNU,   FNU - SUSPECT
        AKA:      Track 2




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       RACE:     Unknown
       SEX:      Unknown
       DOB:      Unknown
       SSN:      Unknown
       fBI:      Unknown
       SID:      Unknown
       HT:       Unknown
       WT:       Unknown
       EYES:     Unknown
       HAIR:     Unknown
       1599:     Unknown
       1599A:    Unknown
       PHOTO:    Unknown
       PRINTS:   Unknown
       FOB:      Unknown
       DL/STATE: Unknown
       ADDRESS:  Unknown
       EMAIL:    Unknown
       DATABASE CHECKS: N/A

 DATABASE SEARCHES CONDUCTED:

 No database searches were conducted during this reporting period.

 EXAMS:

 ECSAP: 5/17/10 TFO Dunn, ECTF Seattle FO

 EVIDENCE I CONTRABAND I       PERSONAL PROPERTY:

 No evidence has been inventoried at this time.

 DISPOSITION:

 Request for IOD:
 The Moscow RO is requested to continue liaison efforts with the Russian Federal
 Security Service and attempt to determine subscriber information for IP address
 188.120.225.66. The Moscow RO is further requested to obtain any information
 which maybe useful in determining the origin of the comprom~se.

 Case continued pending reporting of IOD's and further investigation.


 SPOKANE                    BRANHAM I MILLER




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